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                                                           05/31/16
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10
                       UNITED STATES DISTRICT COURT
11                    CENTRAL DISTRICT OF CALIFORNIA
12                                                        SACV16-00999 BRO (AFMx)
     FEDERAL TRADE COMMISSION,                  Case No. ____________
13
                         Plaintiff,       PLAINTIFF’S MEMORANDUM IN
14                                        SUPPORT OF EX PARTE
                         v.               APPLICATION FOR TEMPORARY
15                                        RESTRAINING ORDER WITH
     DAMIAN KUTZNER, individually and ASSET FREEZE, APPOINTMENT
16   as an officer of BROOKSTONE LAW      OF TEMPORARY RECEIVER,
     P.C. (California), BROOKSTONE        LIMITED EXPEDITED
17   LAW P.C. (Nevada), ADVANTIS LAW DISCOVERY, AND OTHER
     P.C., and ADVANTIS LAW GROUP         EQUITABLE RELIEF, AND
18   P.C.;VITO TORCHIA, JR., individually ORDER TO SHOW CAUSE WHY
     and as an officer of BROOKSTONE      PRELIMINARY INJUNCTION
19   LAW P.C. (California) and            SHOULD NOT ISSUE
     BROOKSTONE LAW P.C. (Nevada);
20   JONATHAN TARKOWSKI,                  [Lodged Under Seal]
     individually and as an officer of
21   BROOKSTONE LAW P.C. (California)
     and BROOKSTONE LAW P.C.
22   (Nevada); R. GEOFFREY
     BRODERICK, individually and as an
23   officer of ADVANTIS LAW P.C. and
     ADVANTIS LAW GROUP P.C.;
24   CHARLES T. MARSHALL,
     individually and as an officer of
25   ADVANTIS LAW P.C. and
     ADVANTIS LAW GROUP P.C.;
26   BROOKSTONE LAW P.C., d/b/a
     BROOKSTONE LAW GROUP, a
27   California professional corporation;
     BROOKSTONE LAW P.C., d/b/a
28   BROOKSTONE LAW GROUP, a
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     Nevada professional corporation;
1    ADVANTIS LAW P.C., a California
     professional corporation; and
2    ADVANTIS LAW GROUP P.C., a
     California professional corporation,
3
                             Defendants.
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15 FTC v. Network Svcs. Depot Inc., 617 F.3d 1127,(9th Cir. 2010) ................... 18, 21
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1                                    INTRODUCTION
2
           Damian Kutzner, a recidivist scofflaw,1 has teamed with unethical lawyers
3
     to market dubious “mass joinder” lawsuits against mortgage lenders. These
4
     activities defrauded consumers out of thousands of dollars in upfront and recurring
5
     monthly fees in violation of the Federal Trade Commission (“FTC”) Act. The
6
     attorneys include: (1) Vito Torchia, whose bar license is indefinitely suspended
7
     because of his involvement in this scheme; (2) Geoffrey Broderick, a current
8
     owner of the enterprise who last year settled allegations of running a nearly
9
     identical fraud in Florida; (3) Charles Marshall, a co-owner who the California Bar
10
     has repeatedly sanctioned for taking upfront fees for mortgage relief and then
11
     providing no services; and (4) Jonathan Tarkowski, who is a 2014 bar admittee and
12
     the current attorney of record in defendants’ dubious lawsuits, purporting to solely
13
     represent hundreds of plaintiffs. Defendants have operated this scheme through
14
15
16
17   1
          Kutzner is already subject to two injunctive orders signed by this Court for
18 FTC violations. FTC v. GM Funding, Inc., SACV02-1026 DOC (C.D. Cal.),
19 Stipulated Judgment and Order for Permanent Injunction as to Defendants GM
   Funding, Inc., Robert D. Kutzner, Global Mortgage Funding, Inc., and Damian R.
20 Kutzner (May 5, 2003) (the “2003 Order”); U.S. v. Global Mortgage Funding, Inc.,
21 SACV07-1275 DOC (C.D. Cal.), Stipulated Judgment and Order for Permanent
   Injunction (July 17, 2009) (the “2009 Order”) (Department of Justice brought on
22
   the FTC’s behalf ). The FTC will be filing a contempt motion against Kutzner for
23 violating the 2003 Order. Attached as Exhibit 1 is the memorandum supporting
24 the motion to show cause why Kutzner should be held in contempt that the FTC
   intends to file. The FTC intends to file that motion once the FTC has served
25 Kutzner with the pleadings in this matter. The FTC is not filing a contempt motion
26 under the 2009 Order because only the United States, through the Department of
   Justice, can seek contempt under that order. Nonetheless, as described below,
27 Kutzner was plainly violating the 2009 Order’s telemarketing ban.
28

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1    purported law firms, Brookstone Law P.C.2 and Advantis Law P.C.3 Defendants
2    convince consumers that if added to a “mass joinder” case against their lender,
3    they can expect a significant recovery, typically at least $75,000. In reality,
4    defendants have never won a mass joinder case, do not have the experience or
5    resources to litigate them, and never sue on behalf of many paying consumers.
6             The fraud at the heart of this scheme and the defendants’ histories make an
7    ex parte temporary restraining order (“TRO”) and preliminary injunction,
8    imposing a receivership and asset freeze to preserve assets and evidence necessary.
9    Absent a TRO, they will continue to harm consumers, abscond with assets, and
10 destroy evidence. Defendants Kutzner, Torchia, Broderick, and Marshall are
11 recidivists who have shown they are likely to abscond with assets and destroy
12 evidence.
13                                 STATEMENT OF FACTS
14       I.    BROOKSTONE AND ADVANTIS ARE THE CONTINUATION OF
               KUTZNER’S PREVIOUS SCAM, UNITED LAW GROUP.
15
16            From 2009 to 2010, Kutzner operated United Law Group (“ULG”), a “law
17 firm” offering advance fee loan modifications.4 In October 2009, California
18 outlawed advance-fee loan modifications, with no attorney exemptions. CA. Civ.
19 Code 2944.7. Simultaneously, ULG faced numerous allegations that its two
20
21
22   2
           “Brookstone” includes both the California and identically named Nevada
23   company.
     3
24         “Advantis” includes both Advantis Law PC and Advantis Law Group PC,
     unless otherwise noted.
25   4
           Declaration of Leslie Lewis (“Lewis Decl.”), Atts. 1 & 2 (Kutzner’s
26   compliance reports listing ULG as his employer and including an employment
     agreement stating he “shall oversee, direct and manage all ‘Non-Legal’ operations
27   of” ULG).
28

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1    primary lawyers committed mortgage modification fraud.5 Both were then
2    disbarred,6 and ULG was raided by both the FBI and the United States Postal
3    Inspectors.7
4          As ULG began to unravel, Kutzner hired Torchia8and formed Brookstone9
5    with the advice and support of Phil Kramer and Mitch Stein, attorneys who are
6    now disbarred. 10 Stein is in prison.11 Kramer and Stein helped Brookstone begin
7    marketing “mass joinder” lawsuits.12 In a so-called mass joinder, tens or hundreds
8    of plaintiffs are added to a single case against a common group of defendants. The
9    facts and circumstances of each plaintiff are different and must be proved
10 separately, unlike a class action. To market the mass joinders, Brookstone filed
11
     5
12          Declaration of Joseph Kennedy (“Kennedy Decl.”), Atts. 6 & 7 (Sean
     Rutledge and Robert Buscho attorney profiles, including disciplinary filings related
13   to their ULG activities).
     6
14          Kennedy Decl., Atts. 6A & 7A (copies of orders showing Buscho disbarred
     and Rutledge voluntarily resigned following findings that he likely committed
15
     multiple, serious ethical violations).
     7
16          Ex. 2, Transcript of Proceedings Before the Honorable Richard A. Platel,
17   May 6, 2014, to May 8, 2014, In the Matter of Vito Torchia, Jr., Esq., No. 12-O-
     11847-RAP (Cal. Bar Ct.) (“Torchia Trial Transcript”) at II-70.
18   8
            Torchia Trial Transcript at II-62 to 64.
     9
19          Torchia Trial Transcript at II-75 (he started Brookstone with Kutzner and
     Kutzner is chief operating officer).
20   10
            Torchia Trial Transcript at II-124 to 128, II-135 to 139 (in 2010 he was
21   approached, through Kutzner, by attorneys operating a mass joinder scheme,
     including Kramer and Stein); Declaration of Gregory Madden (“Madden Decl.”),
22
     Atts. 33-34 (case summary and complaint against Kramer and Stein for their mass
23   joinder scheme); Kennedy Decl., Atts. 4 & 5 (attorney profiles of Kramer and
24   Stein, including Bar decisions preventing them from practicing law).
     11
            Kennedy Decl., Atts. 4 & 5 (attorney profiles of Kramer and Stein, including
25   Bar decisions preventing them from practicing law).
     12
26          Torchia Trial Transcript at II-145 to 149 (Brookstone began marketing their
     own mass joinder action, copied from Kramer and Stein’s previous mass joinder
27   action).
28

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1    several complaints against lenders, including Bank of America, JPMorgan Chase,
2    Wells Fargo, Ally, Indymac, and CitiBank, which they then touted in mailers to
3    potential clients.13 In time, all but the Wright v. Bank of America case were
4    dismissed for lack of prosecution, misjoinder, or failure to state a claim.14
5    Defendants’ have not taken any steps to pursue any of the litigation beyond
6    responding to demurrer motions and, in Wright, pursuing an appeal following
7    dismissal for misjoinder.
8          After Wright’s dismissal, and during its appeal, defendants morphed again
9    from Brookstone to Advantis in 2014. Apparently expecting to lose the appeal,
10 they abandoned their clients in the fall of 2014. As numerous clients attest,
11 Brookstone went from being consistently unresponsive to impossible to even
12 locate. Brookstone stopped answering phone calls, moved without informing
13 clients, and lied to clients about where they were located.15 After the unexpected,
14
15   13
           Madden Decl., Atts. 1-32 (case summaries/dockets for Brookstone’s mass
16 joinder actions); Declaration of Anthony Gales (“Gales Decl.”), Att. 17 at 22
17 (Brookstone
   14
                  website’s listing of all of its “multi-plaintiff” cases).
           Madden Decl., Atts. 1-27, 29-30 (case summaries/dockets showing dismissal
18 of all cases filed prior to 2016, except Wright v. Bank of America).
   15
19         Declaration of Teresa Irannejad (“Irannejad Decl.”), ¶¶ 18-20 (continued to
   pay through November 2014 because she was told to expect a settlement from
20 Bank of America but then when she visited Brookstone’s office found that they
21 had moved and that she could not reach Brookstone via phone); Declaration of
   Michael Nava (“Nava Decl.”), ¶ 11 (Brookstone changed phone numbers and
22
   email addresses without any notice to the client or forwarding information);
23 Declaration of Corina Durrett (“C. Durrett Decl.”), ¶¶ 10-13 (Brookstone stopped
24 taking payment in October 2014 and consumer could reach them afterwards,
   determined they had moved, and then could not find Brookstone at the alleged
25 “new” address. Consumer went to claimed Brookstone address, could not find
26 Brookstone there, and when she called Brookstone to find out why she could not
   find them and where they were, Brookstone hung up on her.). See also Madden
27 Decl., Att. 47 (Order, Decision, or Award of the Labor Commissioner, Smith v.
28

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1    limited, success of their appeal in Wright,16 holding that mass joinders are
2    technically possible, defendants have regrouped and now exist as both Brookstone
3    and Advantis.17 Tarkowski is the current lead attorney.18 Marshall, through
4    Advantis, represented the lead plaintiff in Wright until his bar license suspension in
5    November 2015.19 Following a notice from Bank of America that defendants were
6    not prosecuting Wright on remand20 and more than a year after the Court of
7    Appeals decision, on January 5, 2016, Tarkowski filed a new amended complaint
8
9
10
     Brookstone Law P.C., No. 18-92557/529/530 (Calif. Labor Commissioner, entered
11   April 17, 2015) (employee assisted Brookstone in moving offices on November 7,
12   2014, having arrived without knowing the office was moving)).
     16
            The court held that a mass joinder, in theory, could proceed, but criticized
13   defendants’ “desultory and scattered allegations,” and required that on remand they
14   replead the Complaint into an intelligible pleading. Petersen v. Bank of America,
     232 Cal. App. 4th 238, 254 (2014), review denied (Mar. 25, 2015).
15   17
            They both shared an original address on Von Karman Ave. See Gales Decl.,
16   Atts. 4 & 5 (Advantis Law PC and Advantis Law Group PC incorporation papers);
17   Madden Decl., Att. 43 (Bradford Complaint identifies Brookstone at same
     address); Ex. 3 (Torchia bar records showing same address as his Brookstone
18   address from October 31, 2013 to December 22, 2014). Now, both operate from 6
19   Hutton Centre in Santa Ana, CA. Madden Decl., Att. 46 (Tarkowski and
     Brookstone Notice of Change of Address, Wright v. Bank of America, No. 30-
20   2011-00449059-CU-MT-CXC (Super. Ct. Orange Cty., filed on March 11, 2016));
21   Declaration of Diane Samar Ayoub (“Ayoub Decl.”), ¶ 6. They both also tout
     Wright as their own case, using identical language. Gales Decl., Att. 17 at 7
22
     (Brookstone website); Gales Decl., Att. 18 (Advantis website).
     18
23          Madden Decl., Atts. 36-38 & 48 (pleadings with Tarkowski claiming to be
24   the attorney of record and a filing by Bank of America detailing Tarkowski’s claim
     to be the sole Brookstone attorney)
25   19
            Madden Decl., Atts. 38 & 49 (pleadings listing Marshall as counsel in
26   Wright v. Bank of America); Kennedy Decl., Att. 3 (Marshall’s attorney bio and
     disciplinary proceedings).
27   20
            Madden Decl., Atts. 36-37 (July 2015 Bank of America pleadings).
28

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1    in Wright,21 and sought leave to further amend it in March 2016.22 Bank of
2    America filed a demurrer seeking dismissal of the case in its entirety and moved to
3    strike the complaint.23 Most recently, Tarkowski filed three new complaints in
4    March and April 2016, one of which appears to be a previously dismissed case
5    that, in blatant violation of defendants’ ethical duties, includes as plaintiffs
6    “clients” who have already fired defendants for defrauding them.24
7         II.    DEFENDANTS MARKET THEIR DECEPTIVE MORTGAGE
                 SERVICES THROUGH MASS MAILERS.
8
9               Defendants seek victims through mass mailers stating: “[Y]ou may be a
10 potential plaintiff against your lender;” Mass joinder litigation is a way to “void
11 your note(s), and/or award you relief and monetary damages;” “[O]ur team of
12 experienced lawyers offers you a superior alternative for recovery;” and “It may be
13 necessary to litigate your claims against your lender to get the help you need and
14 our lawyers know how to do so.”25 The mailers identify Vito Torchia as the
15 responsible attorney and typically refer to the mass joinder cases that Brookstone
16 has filed. Id. Some versions reference the Department of Justice’s multibillion
17 dollar settlements with the banks, suggesting that Brookstone’s cases are
18 somehow connected. Id. They emphasize “You should act now!” and that failing
19 to act quickly could “bar your claims in the future.” Id.
20
21
22   21
           Madden Decl., Atts. 28 & 53.
     22
23         Madden Decl., Att. 41.
     23
24         Madden Decl., Att. 28, DEs 649-54.
     24
           Madden Decl., Atts. 13 & 31-32; Declaration of Ronald Kolodziej
25   (“Kolodziej Decl.”), ¶¶ 23-24 (firing defendants in July 2015).
     25
26         See, e.g., Declaration of Mario Rios (“Rios Decl.”), Att. 1; Declaration of
     Raymond Navarro (“Navarro Decl.”), Atts. 4 & 5; Declaration of Jesse Chapman
27   (“Chapman Decl.”), Att. 1; C. Durrett Decl., Att. A.
28

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      III.    DEFENDANTS THEN CONVINCE CONSUMERS TO PAY LARGE
1             UPFRONT FEES FOR THEIR WORTHLESS SERVICES.
2
             Based on the mailers, consumers call defendants. During these calls,
3
     defendants convince consumers to come into the office for an evaluation.26
4
     Consumers then bring their mortgage papers and sign an initial retainer agreement,
5
     agreeing to pay between $895 and $1,300 for a forensic mortgage analysis.27
6
     Before and after defendants “review” the files, they tell consumers that they are
7
     great candidates for existing mass joinders, or one yet to be filed, including
8
     statements that a consumer has “a very strong case;” that prevailing in the litigation
9
     is “basically a done deal;” and “it was not a question of whether I would win my
10
     cases, but how much money I would get.”28 Most consumers receive a “Legal
11
12
13
     26
14          Chapman Decl., ¶ 3; Rios Decl., ¶ 5; Navarro Decl., ¶ 4; Declaration of
     Richard Leonido (“Leonido Decl.”), ¶ 4; C. Durrett Decl., ¶ 8.
15   27
            Chapman Decl., ¶ 6 & Att. 2; Rios Decl., ¶ 9 & Att. 2; Navarro Decl., ¶¶ 6-7
16   & Att. 1; C. Durrett Decl.,¶ 8. Some people completed this step over the phone.
17   Leonido Decl., ¶¶ 4-5; Nava Decl., ¶ 4.
     28
            Nava Decl., ¶ 7 (told “that I definitely had a very strong case, it was
18   basically a done deal”); Kolodziej Decl., ¶ 8 (“it was not a question of whether I
19   would win my cases, but how much money I would get.”); Irannejad Decl., ¶ 12
     (told “I had a good case” and that “the minimum I would get would be $75,000”);
20   Chapman Decl., ¶ 5 (told he and his wife “were very good candidates and were
21   entitled to a refund as a result of litigation between the Department of Justice and
     Bank of America”); Rios Decl., ¶ 7 (“The Brookstone Law representatives told me
22
     that Brookstone Law had a great chance of succeeding in the lawsuit. They said
23   that although it may take some time, Brookstone Law would succeed eventually”);
24   Navarro Decl., ¶ 7 (told case was strong enough to expect to recover $300k);
     Leonido Decl. ¶¶ 7 & 9 (told he had a case against his lender and that the mass
25   joinder “would, at the very least, put me in a better position on my mortgage”); C.
26   Durrett Decl., ¶¶ 10-11 (explaining that they had multiple valid causes of action
     and that based on defendants’ years of experience their claim was “pretty good”
27   and could get them $1 million).
28

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1    Analysis” that purports to document numerous law violations.29 Sales peoples’
2    claims vary, seemingly based on what it takes to convince a particular consumer,
3    but most are told they should expect to receive damages or that their loan be
4    entirely forgiven.30 These claims are corroborated by an undercover call placed by
5    FTC investigator Anthony Gales, where defendants stated, after hearing only his
6    name and lender, that they can stop the foreclosure on his house and add him to a
7    mass joinder case that will get him a mortgage modification.31
8          To proceed with the mass joinder, defendants require another retainer
9    agreement with at least $1,500 upfront and a monthly fee, typically $250.32
10 Contrary to their sales pitch, these 10-page, legalese-ridden retainer agreements
11 contain disclaimers, including that the mass joinder case cannot and will not seek
12
13   29
            See e.g., Rios Decl., Att. 3; Leonido Decl., Att. 3; Declaration of Timothy
14   Durrett (“T. Durrett Decl.”), Att. A. Some consumers, although having paid for
     the analysis and having been assured they had a strong case, were never provided a
15
     copy of the analysis despite asking for it. Nava Decl., ¶5.
     30
16          Chapman Decl., ¶ 5 (“were entitled to a refund”); Rios Decl., ¶ 6 (“at least
17   $75,000 off the principal of my house, and that it might remove the entire
     mortgage from my house”); Navarro Decl., ¶ 6 (should expect $75,000 for him and
18   his girlfriend for both the original loan and refinance, for a total of $300,000);
19   Nava Decl., ¶¶ 6-7 ($75,000 and an additional $750,000 in punitives); T. Durrett
     Decl., ¶ 7 (had a good case and could get up to$1.5 million); Leonido Decl., ¶ 9 (
20   “would, at the very least, put me in a better position on my mortgage”). See also
21   Rios Decl., ¶¶ 17-18 (an email from defendants in October 2015 sating defendants
     are “very confident we will prevail”).
22   31
            Gales Decl., ¶ 12 & Att. 2.
     32
23          The fees vary. Chapman Decl., ¶ 7 ($3,000 advance fee with $250 monthly
24   fee); Rios Decl., ¶ 12 ($1,500 advance fee with $250 monthly fee); Navarro Decl.,
     ¶ 7 ($3,000 advance fee with $250 monthly fee); Nava Decl., ¶¶ 8-9 ($3,000
25   advance fee with $250 monthly fee); C. Durrett Decl., ¶ 12 ($3,000 advance fee
26   with $250 monthly fee for first 12 months and then a $59.99 monthly fee); Leonido
     Decl., ¶ 8 ($1,500 advance fee with $250 monthly fee for first 12 months and then
27   a $59.99 monthly fee).
28

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1    more than $75,000 in relief33 and that litigation is inherently risky,34 but consumers
2    did not understand them and they directly contradict defendants’ express
3    representations of certain relief. One consumer noticed the disclaimer and asked
4    what it meant, only to be told “it was just legal words in the retainer . . . but there
5    was no risk of losing.”35
6     IV.    DEFENDANTS DO NOT KEEP THE ADVANCE FEES IN
             ACCORDANCE WITH CALIFORNIA LAW.
7
8           Defendants take upfront fees, but fail to keep them in client trust accounts in
9    accordance with California law. Through 2014, Defendants received more than
10 $15 million but did not even maintain client trust accounts let alone deposit funds
11 in them.36 In fact, they spent the money as they received it.37 Also contrary to
12 ethics rules, numerous consumers report being unable to obtain refunds or an
13
14
15
16
17
18
     33
19          This is to avoid federal diversity jurisdiction.
     34
            See, e.g., Chapman Decl., Att. 3 at 2 & 8; Rios Decl., Att. 4 at 4; Navarro
20   Decl., Att. 2 at 2 & 8.
     35
21          See Irannejad Decl., ¶ 14 (“He said I shouldn’t pay attention to the
     disclaimer because the case against Countrywide had already been proven.
22
     Anthony Stout said trust me, I can assure you that you will get $75,000 and the
23   money you paid to Brookstone back.”); Chapman Decl., ¶ 8.
     36
24          Declaration of Emil George (“George Decl.”), ¶¶ 8 & 9 (defendants’
     accounts show $24.4 million in raw credits, offset by $7.4 million in intercompany
25   transfers, and there are approximately $1 million in check deposits that have not
26   been analyzed to determine if they are intercompany transfers); George Decl., Att.
     A (listing defendants’ accounts, none of which are trust accounts).
27   37
            George Decl., Att. C (monthly summaries of each of the accounts).
28

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1    accounting of work performed.38 The California Bar found that Torchia repeatedly
2    violated his ethical duties through such failures.39
3         V.    CONSUMERS RECEIVE NO BENEFIT FROM DEFENDANTS’
                SERVICES.
4
                     A. Many Consumers Receive No Services from the Defendants.
5
6              Many consumers who sign up are not added to a mass joinder. They have
7    paid upfront and monthly fees, frequently totaling more than $5,000, and received
8    nothing in return.40
9                    B. Five Years Later, Defendants Have Never Won A Mass
                        Joinder And Nearly All of Their Cases Have Been Dismissed.
10
11             The results are little better for those added to a case. They pay upfront and
12 monthly fees for the services of purportedly experienced professionals, but receive
13
     38
14          Chapman Decl., ¶ 12; Rios Decl., ¶ 16. Mr. Navarro in particular made
     repeated attempts to get a refund and accounting of work performed. Defendants
15
     never offered one and Mr. Navarro was forced to go to small claims court twice to
16   secure his refund. Navarro Decl., ¶¶ 9-13.
     39
17          Kennedy Decl., Att. 1.C (Decision, In the Matter of Vito Torchia, Jr., No.
     12-O-11847-RAP (Cal. Bar Ct.) ( “Torchia August 6, 2014 Bar Decision”)).
18   40
            Navarro Decl., ¶¶ 9-13 (paid nearly $5,000, was never added to a case or
19   provided with an accounting, and was forced to go to small claims court multiple
     times to get his money back from Defendants); Torchia August 6, 2014 Bar
20   Decision at 13-15 (Keith and Myra Daily never added to cases against IndyMac, as
21   promised); id. at 30-32 (Yvonne Welling never added to case against Chase, as
     promised). Other consumers report demanding information about the status of
22
     their cases and understanding that nothing whatsoever was done for them and that
23   they were never added to any case. Rios Decl., ¶¶ 13-16 (paid more than $2,000
24   but was not added to a case and never got a response to his refund request);
     Chapman Decl., ¶ 12 (paid more than $5,000 but, as far as he knew, was never
25   added to a case and no work was ever done for him); C. Durrett Decl., ¶¶ 14-17
26   (paid more than $6,000 but, as far as she could tell, was never actually added to the
     case); Nava Decl., ¶¶ 8-12 (paid more than $6,000, as far as he knew was not
27   added to a case, and could not get a response when he called defendants).
28

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1    nothing. Contrary to the promised recoveries, all but one mass joinder lawsuit
2    filed before 2016 has been dismissed for lack of prosecution, misjoinder, or failure
3    to state a claim. Consumers cannot even receive status updates because defendants
4    are unavailable, difficult to reach, or unresponsive.41 Contrary to the claimed
5    experience, the California Bar found Torchia “lacked and continues to lack the
6    law-office-management skills and basic knowledge of mortgage lending law and
7    bankruptcy law necessary to adequately and properly represent some 4,000
8    mortgage loan clients and to adequately supervise a law office staff of 30 to 40
9    employees,” almost all of whom are sales people. August 6, 2014 Decision.42
10 Following Torchia’s effective disbarment, Tarkowski, a lawyer admitted to the bar
11 in 2014 with no experience suggesting he can effectively litigate hundreds of
12
13   41
            Leonido Decl., ¶ 13 (added to a case but unable to get updates about the
14   case). The communication was so poor that some consumers were completely
     unaware they were added to cases. Chapman Decl., ¶ 12; C. Durrett Decl., ¶¶ 14-
15
     17; Nava Decl., ¶¶ 8-12; Declaration of Malu Lujan (“Lujan Decl.”), ¶ 15;
16   Kolodziej Decl., ¶¶ 23-24 (added to cases without his knowledge, including after
17   firing defendants); Madden Decl., Atts. 13, 42-44 (including complaints in
     Bradford v. Bank of America, in which Chapman was named as a plaintiff without
18   his knowledge, Brooksheir v. Bank of America, in which the Durretts, Nava, and
19   Lujan were named as plaintiffs without their knowledge; and Lawley v. Bank of
     America, in which Kolodziej was named as a plaintiff without his knowledge).
20   42
            Torchia admitted at his ethics trial that he is “not a real estate attorney. . . .
21   [or] a banking specialist.” Torchia Trial Transcript at II-164. He further admitted
     that he was not competent to run a law firm: “[T]his firm grew pretty fast, and,
22
     unfortunately for me, there was some learning—there was a learning curve that
23   shouldn’t have been a learning curve. I tried to hire more—I did hire senior
24   people, older than me, much more experienced than me, to do the work, but I
     didn’t have someone above me to help me.” Id. at IV-127 to 128 (detailing several
25   of the more “experienced” lawyers they tried and failed to convince to be a part of
26   the scheme). Although he is the attorney of record, in light of his incompetence,
     he even admits that he was not handling the mass joinder cases. Id. at IV-9 (“Me
27   personally? I wasn’t handling these mass-joinder cases.”).
28

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1    simultaneous fraud cases, represents the plaintiffs.43 In sum, it appears defendants
2    are merely keeping complaints on file so they can continue to charge monthly
3    fees.44
4                    C. The Mass Joinders Do Not Seek to Void Consumers’ Notes.
5
               Despite luring consumers with contrary representations, the mass joinder
6
     lawsuits do not even attempt to void consumers’ notes. If they did, the banks could
7
     remove the cases to federal court, where they would be promptly dismissed for
8
     misjoinder under the Federal Rules of Civil Procedure. To avoid this result,
9
     defendants have explicitly opposed removal by stating that the lawsuits do not seek
10
     to void consumers’ notes.45
11
      VI.       KUTZNER AND HIS COHORTS EACH HAVE CONTROL OVER
12              THE SCHEME AND KNOWLEDGE OF THE FRAUDULENT
                CONDUCT.
13
                        A. Kutzner Founded the Scheme After ULG Failed.
14
15             As described above, when ULG failed, Kutzner and Torchia marketed mass
16 joinder lawsuits. Kutzner is the purported COO of Brookstone running all non-
17 legal operations,46 continues to have an office at Advantis,47 and controls the
18
     43
19          Madden Decl., Atts. 45-46 & 48-49 (recent filings listing Tarkowski as
     attorney of record).
20   44
            Current income is significant, almost certainly based on continuing monthly
21   payments from defrauded consumers. A very recent bank production showing
     Brookstone’s account activity through November 2015, shows $1,474,108.77 in
22
     gross deposits between November 2014and November 2015, averaging more than
23   $100,000 per month. Kennedy Decl., ¶ 14.
     45
24          See Madden Decl., Att. 50 (Pltf. Reply in Support of Motion to Remand, at
     15-16, (DE 24), Potter v. JP Morgan Chase Bank N.A., No. 11-10255 (C.D. Cal.)
25   (“Plaintiffs do not seek to set aside Defendants’ loans, nor rescind them but rather
26   seek loss of equity damages resulting from Defendants’ wrongful conduct.”)).
     46
            Legaspi v. Spivak, 2013 WL 3947691 (Cal. Ct. App. July 30, 2013)
27   (“Kutzner identified himself as Brookstone's chief operating officer.”); Torchia
28

                                                12
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1    Advantis Law website.48 Kutzner was also integral in devising the scheme. He
2    introduced Kramer and Stein to Torchia and participated in meetings to determine
3    how Brookstone could copy Kramer and Stein’s mass joinder scheme.49 Kutzner’s
4    longtime accountant50 is the registered agent for Advantis,51 and is a signatory on
5
6    Trial Transcript at II-75 (Kutzner was COO); Id. at II-81 (“So [Kutzner] pretty
7    much set up the business flow of the office. He set up the computer systems, got
     the servers running, the telephone systems, the cubicles, knew how to train people,
8
     the business side of it, which I was never—I didn’t know, which was new to me. I
9    knew the law side, or was getting to learn the law side, but I’m trained as a
10   lawyer.”). See also Lewis Decl., Att. 5 (“Ex. A” to the compliance report
     including United Law Group employment agreement under which Kutzner was
11   also the COO and, per the agreement, ran all non-legal portions of the business).
     47
12          Ayoub Decl., ¶ 8. See also Gales Decl., ¶ 29 (Kutzner filed complaint with
     CFPB using his Advantis Law contact information).
13   48
            Kutzner, using the alias Damian Reimers, controls the Advantis Law
14   website. Gales Decl., Att. 19 at GD 000612 to 615 (account held by “Damian
     Reimers” controls the Advantis websites, among many others, including websites
15
     apparently related to Kramer and Stein). Although an alias, it is obvious that this is
16   actually Kutzner because one of his employees at his other company, Serious
17   Pimp, is the email contact for the account. Id. at GD 000612 (listing
     jcook@seriouspimp.com as the email contact); Gales Decl., Att. 9 (Serious Pimp
18   incorporation papers identify Kutzner as the owner). The same account controls
19   Kutzner’s personal websites. Gales Decl., Att. 19 at GD 000613. For at least one
     of the websites on the account he apparently slipped up and listed his actual name
20   for the registration. Id. at GD 000754. Finally, several of the payment receipts list
21   Kutzner as the payor. Id. at GD 001053, GD 001062, GD 001087, GD 001113.
     49
            Torchia Trial Transcript at II-124 to 128, II-135 to 139.
22   50
            Josephine Lobo, who dates back at least to ULG. See Madden Decl., Att. 51
23   (Monthly Operating Statement, In re United Law Group, No. 10-bk-18945-RK
24   (Bankr. C.D. Cal., Sept. 13, 2010), at 5-7, 10-11 (listing payments to Jospehine
     Lobo)). She is also the signatory on an account of Broad Base Inc., d/b/a Serious
25   Pimp, a company that Damian Kutzner is known to own and control. See Gales
26   Decl., Att. 21 (Broad Base Inc. signature card); Id. (Inventory listing identifying
     Broad Base Inc. as “Broad Base Inc., DBA Serious PIMP”); See also Gales Decl.,
27   Att. 19 at GD001093 (Broad Base paying for Kutzner’s personal websites).
28

                                              13
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1    many Brookstone bank accounts.52 Kutzner also apparently controls companies
2    that received approximately a quarter of all payments from the defendants.53
3    Although Kutzner has tried to obfuscate his involvement, he clearly exercises
4    control over the companies and is, almost certainly, a de facto owner of the
5    companies and the defendants’ ringleader.54
6                B. Torchia Is a Founder and Principal.
7
           As described above, Torchia was the purported owner of Brookstone and the
8
     original incorporator of Advantis. Torchia was the attorney of record in most if not
9
10
11
12   51
          Gales Decl., Atts. 4 & 5(Advantis Law PC and Advantis Law Group PC
13 incorporation documents).
   52
14        Gales Decl., Att. 21 (Business Account Add Signers Form adding Lobo as
   signer to Brookstone accounts 8561, 8819, 7928, and 8769); Gales Decl., Att. 20
15
   (0097 Signature Card, 0081 Signature Card, 8722 Signature Card, and 3466
16 Signature Card).
   53
17        George Decl., Att. B. (showing Federal Management Systems Inc. receiving
   22.5% of all disbursements for a total of $3,786,429.35 and Broad Base receiving
18 2.94% of all disbursements for a total of $440,634.14); Gales Decl., Att. 21
19 (Federal Management Systems Inc. signature card showing Josephine Lobo as a
   signer as well as “Wayne Andre”); Id. (Broad Base Inc. signature card showing
20 Josephine Lobo as a signer); Kennedy Decl. at Att. 11 (news report identifying
21 Wayne Andre, the purported owner of Federal Management Systems Inc., as a
   professional incorporator in Nevada that offers himself as a “straw” officer and
22
   director for companies). Broad Base also received $119,420.14 from Brookstone
23 in an account not included in Emil George’s declaration because it was produced
24 after
   54
         George had completed his bank account review. Kennedy Decl., ¶ 14.
          A former Brookstone employee obtained a default judgment for back wages
25 and testified that Kutzner was Brookstone’s “CEO.” See Madden Decl., Att. 47
26 (“Order, Decision, or Award of the Labor Commissioner, Smith v. Brookstone
   Law, P.C., Corporation, No. 18-92557/529/530 (Calif. Labor Commissioner,
27 Entered April 17, 2015)).
28

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1    all of the scheme’s mass joinder lawsuits,55 is the only attorney listed in
2    Brookstone advertisements,56 and claims to have helped create the marketing.57
3    Torchia is also aware that the advertising is false.58 Because he is ineligible to
4    practice law, Torchia is no longer an attorney for either Brookstone or Advantis,
5    but reportedly still works from Advantis’ office.59
6                 C. Tarkowski is Now Brookstone’s Only Attorney.
7
           Following Torchia’s ineligibility, Tarkowski emerged as Brookstone’s only
8
     attorney of record and de facto owner, and then as an Advantis lawyer.60 On
9
     Brookstone’s current bank signature card, Tarkowski is listed as its “managing
10
11
12   55
            Madden Decl., Atts. 42-43 & 52 (selected mass joinder complaint excerpts,
13 with Torchia’s signature from 2011-14).
   56
14          See e.g., Rios Decl., Att. 1 at page 2; Navarro Decl., Att. 5 at page 2.
   57
            Torchia Trial Transcript at II-165 (“I manage the overall operations. I make
15
   sure that it’s being—like, the scripts are done right. I make sure, you know, that
16 we have meetings in which, well, we have tape reviews, because when clients call
17 in, they’re notified that ‘This call is being recorded for quality and training
   purposes.’ I make sure that the managers are managing their staff.”).
18 58       In responding to posts on a purported consumer advocacy website, Torchia
19 contradicted the defendants’ sales pitch by stating: “Without question, we might
   lose some or all of these lawsuits. Further, without question, some of our clients
20 might win and others might lose. It is therefore true that the retainer might do
21 nothing more than increase our client’s loss.” Kennedy Decl., Att. 10.
   59
            Ayoub Decl., ¶ 14.
22 60
            See, e.g., Madden Decl., Att. 36 (Separate Case Management Statement of
23 Defendants at 13-15, Wright v. Bank of America, Case No. 30-2011-00449059-
24 CU-MT-CXC (Super. Ct. Orange County, filed July 29, 2015) (“July BofA
   Filing”) (“[Tarkowski] indicated he was [Brookstone’s] only attorney. . . . Mr.
25 Tarkowski said he had spoken frequently with Mr. Torchia, and with Mr. Kutzner.
26 . . .”); Madden Decl., Att. 53 (Fourth Amended Complaint, Wright v. Bank of
   America, Case No. 30-2011-00449059-CU-MT-CXC (Super. Ct. Orange County,
27 filed January 4, 2016)) (Tarkowski is the only lawyer on the pleading).
28

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1    attorney.”61 Tarkowski is a junior lawyer, first admitted to the bar in 2014, without
2    litigation experience, let alone experience in the type of complex cases defendants
3    hawk.62 Tarkowski also works full time from the Advantis office.63 He has
4    knowledge of defendants’ wrongdoing, having been served with a copy of Bank of
5    America’s July 2015 filing highlighting defendants’ dubious actions.64
6                 D. Marshall and Broderick are the New Owners of Advantis.
7
           Following Torchia’s ineligibility, Marshall and Broderick became Advantis’
8
     apparent owners and officers. They both appear on the state incorporation papers
9
     and, until Marshall ran into issues with the bar in November 2015, both were listed
10
     as “Directors” on Advantis’ website.65 A former Advantis employee confirms that
11
     Broderick claimed to own Advantis and worked at its office.66 Broderick is well
12
     aware of mass joinder fraud, having just recently stipulated to a judgment arising
13
     from an alleged mass joinder fraud he ran with Kramer, among others.67 Kramer,
14
     as noted above, was disbarred because of a mass joinder scheme and is one of the
15
     attorneys from whom Kutzner and Torchia learned to market their mass joinder
16
     scheme. Broderick is also listed as a Brookstone attorney on Brookstone’s current
17
18
     61
19          Gales Decl., Att. 20 (signature card for account 7366).
     62
            Kennedy Decl., Att. 2 (Tarkowski’s State Bar biography).
20   63
            Ayoub Decl., ¶ 11.
     64
21          See July BofA Filing (Proof of service includes Tarkowski).
     65
            Gales Decl., Att. 18 (Advantis website showing both as “Directors”).
22
     Following Marshall’s suspension in November, he was scrubbed from the website
23   and, at the same time, Broderick was also scrubbed from the website, likely
24   because he is not licensed to practice law in California. Kennedy Decl., Att. 8
     (attorney page no longer identifying any lawyers).
25   66
            Ayoub Decl., ¶¶ 4, 10.
     67
26          Madden Decl., Att. 54 (Stipulated Final Judgment and Order for Permanent
     Injunction and Settlement of Claims as to Defendant Geoffrey Broderick, Florida
27   v. Berger Law Group PA, 14-cv-1825 (M.D. Fla., Feb. 27, 2015)).
28

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1    bank signature card.68 Marshall does not work from the Advantis office, but
2    appeared in the Wright v. Bank of America suit, and is aware of defendants’
3    wrongdoing.69
4                                          ARGUMENT
5         I.    THE FTC IS LIKELY TO SUCCEED ON THE MERITS AGAINST
                ALL OF THE DEFENDANTS
6
7              Preliminary relief is appropriate because the FTC is likely to succeed and the
8    equities are presumed to favor such relief. 70 “[W]hen a district court balances the
9    hardships of the public interest against a private interest, the public interest should
10 receive greater weight.” World Wide Factors, Ltd., 882 at 347. Critically, the
11 public interest includes the ability to provide consumers “effective relief.” Id.
12 Preliminary relief is both appropriate and necessary because defendants engaged in
13 a scheme to defraud consumers in violation of the FTC Act and, absent relief, are
14 likely to continue, abscond with evidence, and dissipate assets.
15
16
17
18   68
            Gales Decl., Att. 20 (signature card for account 7366).
     69
19          See July BofA Filing (Proof of service includes Marshall).
     70
            FTC v. World Wide Factors, Ltd., 882 F.2d 344, 346 (9th Cir. 1989) (“the
20   district court is required (i) to weigh equities; and (ii) to consider the FTC’s
21   likelihood of ultimate success before entering a preliminary injunction”); Id. at 347
     (“Because irreparable injury must be presumed in a statutory enforcement action,
22
     the district court need only to find some chance of probable success on the
23   merits.”) (quoting U.S. v. Odessa Union Warehouse Co-op, 833 F.2d 172 at 176
24   (9th Cir. 1987)); FTC v. Affordable Media, 179 F.3d 1228, 1233 (9th Cir. 1999)
     (same and further stating the FTC Act “places a lighter burden on the Commission
25   than that imposed on private litigants by the traditional equity standard; the
26   Commission need not show irreparable harm to obtain a preliminary injunction”)
     (quoting FTC v. Warner Communications, Inc., 742 F.2d 1156, 1159 (9th Cir.
27   1984)).
28

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                      A. Defendants Violated Section 5 of the FTC Act By Lying to
1                        Consumers to Convince Them to Sign Up for Their
                         Mortgage Relief Services.
2
3          Defendants violated Section 5 of the FTC Act, prohibiting “unfair or
4    deceptive acts or practices.” 15 U.S.C. § 45(a). “An act or practice is deceptive if
5    ‘first, there is a representation, omission, or practice that, second, is likely to
6    mislead consumers acting reasonably under the circumstances, and third, the
7    representation, omission, or practice is material.’” FTC v. Stefanchik, 559 F.3d
8    924, 928 (9th Cir. 2009) (quoting FTC v. Gill, 265 F.3d 944, 954 (9th Cir. 2001)).
9    Defendants lied: (1) about the likelihood of success in mass joinder litigation; (2)
10 that they will provide certain services, such as seeking to void consumers’ notes in
11 the mass joinder lawsuits and adding consumers to mass joinder lawsuits; and (3)
12 that they have the experience and resources necessary to litigate complicated
13 lender fraud cases on behalf of hundreds or thousands of consumers
14 simultaneously. These claims are presumed material and in fact affected
15 consumers’ decisions.71
16         Defendants told every consumer there was a high likelihood of success in
17 the mass joinder litigation, assuring each he had a strong case. Defendants
18 promised many, if not most, they would recover at least $75,000. Defendants told
19 consumers it was a “done deal” and “it was not a question of whether I would win
20 my cases, but how much money I would get.” Of course, defendants have never
21 obtained a judgment for any of their clients and it is unlikely they ever will,
22
23
     71
24       FTC v. Pantron I Corp., 33 F.3d 1088, 1095-96 (9th Cir. 1994) (“Express
   product claims are presumed to be material.”). See also FTC Policy Statement on
25 Deception, Oct. 14, 1983, reprinted in Cliffdale Associates Inc., 103 F.T.C. 110, at
26 175 (1984) (stating an “act or practice . . . likely to affect the consumer’s conduct
   or decision with regard to a product or service” is material); Pantron I Corp., 33
27 F.3d at 1095 (adopting policy statement from Cliffdale Associates).
28

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1    regardless of the merits of the cases, because they do not have the experience or
2    resources necessary to litigate them. This misrepresentation is material and typical
3    of those that violate the FTC Act.72
4          Defendants also lie to consumers about: (1) filing a mass joinder case that
5    would seek to void the consumer’s note and (2) adding consumers to mass joinder
6    litigation.73 Contrary to statements that the cases will seek to void consumers’
7    notes, they argue in court that the cases do not seek to void notes. As shown
8    above, there are also a number of people who are promised they will be added to a
9    case who then are never added. In these instances, defendants simply do not
10 deliver the promised services.
11         Defendants also lie when they claim to be experienced lender law litigators
12 capable of obtaining the promised results. The lead attorney, Vito Torchia, does
13 not have any relevant experience and the California bar found him incompetent to
14 represent these clients.74 The current lead attorney, Tarkowski, lacks the promised
15 experience given that he was admitted to the bar in 2014, after many of the
16 consumers had already signed up. The California Bar found, and it is
17
18   72
            See, e.g., FTC v. Network Svcs. Depot Inc., 617 F.3d 1127, 1139-40 (9th Cir.
19   2010) (finding claims that consumers could expect to earn $1,000 per month from
     internet kiosks material and unreasonable); FTC v. Wolf, 1996 WL 812940 (S.D.
20   Fla. 1996) (express claims of money to be earned and success others have achieved
21   are material because they concern issues at the heart of consumers’ purchase
     decisions), aff’d 113 F.3d 1251 (11th Cir. 1997); FTC v. Medicor LLC, 217 F.
22
     Supp. 2d 1048, 1053-4 (C.D. Cal. 2002) (consumers highly unlikely to make
23   potential $20k-$45k per year when 64 people had submitted a total of 2,641
24   medical claims for earnings of $3 per claim).
     73
            As noted above, many are never added to cases.
25   74
            August 6, 2014 Bar Decision at 4 (“[Torchia] lacked and continues to lack
26   the law-office management skills and basic knowledge of mortgage lending law
     and bankruptcy law to adequately and properly represent some 4,000 mortgage
27   loan clients and to adequately supervise a law office staff of 30 to 40 employees.”).
28

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1    unquestionably true, that a firm with only one, or a handful of attorneys, cannot
2    prosecute 4,000 separate claims. The mass joinder lawsuits involve only one
3    shared fact—a claimed conspiracy to artificially raise home values—with each
4    consumer’s mortgage case to be proved separately.75 Unlike a class action, they
5    are truly separate cases under a shared case number. Currently, Tarkowski, as to
6    whom there is no evidence he has done a trial of any kind, claims to solely
7    represent more than 800 clients whose claims, if pursued, could result in more than
8    800 separate trials. Defendants’ claimed experience and ability to obtain the
9    promised results cannot be true.
10                B. Defendants’ Disclaimers Are Not Effective.
11
           Defendants may argue that “disclaimers” corrected any express promises
12
     about the likelihood of success. But, they are part of a 10-page, legalese contract
13
     and contradict defendants’ express sales pitch.76 When a consumer specifically
14
     asked about the disclaimer, she was told “it was just legal words in the retainer and
15
     they had to use them in the agreement, but there was no risk of losing.”77 She was
16
     further assured that she “shouldn’t pay attention to the disclaimer because the case
17
     against Countrywide had already been proven” and “trust me, I can assure you that
18
     you will get $75,000.”78 This Court granted summary judgment in a similar case in
19
20
     75
21          Petersen v. Bank of America, 181 Cal. Rptr. 3d 330, 340-41 (Cal. Ct. App.
     2014) (shared issues are only whether Countrywide drove up home prices and
22
     systematically concealed loan terms, noting that actual damages would “of course
23   vary widely” depending on circumstances). The dissenting judge noted: “[T]o
24   recover on the cause of action for intentional misrepresentation or the cause of
     action for negligent misrepresentation, each and every plaintiff—yes, each one of
25   them—will have to submit evidence to prove liability and damages.” Id. at 345.
     76
26          See. e.g., Navarro Decl., Att. 2 at 2 (disclaimer in paragraph e.).
     77
            Irannejad Decl., ¶ 14.
27   78
            Id.
28

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1    the face of nearly identical disclaimers. See FTC v. A to Z Marketing, Inc., 13-cv-
2    919 (C.D. Cal. Sept. 17, 2014) (granting summary judgment). In other cases,
3    courts have repeatedly found disclaimers in subsequent documents or that
4    contradict express claims ineffective.79
5          Additionally, the retainer agreements contain other unenforceable provisions
6    and have previously been found unconscionable. The agreements’ statements that
7    fees paid by consumers are fully earned regardless of the amount of work, if any,
8    performed by defendants,80 contradict the California Bar’s rulings on advance and
9    flat fees, as found in the Bar’s decision to suspend Torchia.81 Furthermore, one
10 consumer challenged these agreements in fee arbitration, and the Orange County
11 Bar Association arbitrators found the retainer agreements unconscionable.82
12
13
14
15
16
     79
17          Resort Car Rental v. FTC, 518 F.2d 962 (9th Cir. 1975) (“The Federal Trade
     Act is violated if [the advertising] induces the first contact through deception, even
18   if the buyer later becomes fully informed before entering the contract.”); FTC v.
19   Gill, 71 F. Supp. 2d 1030, 1044 (C.D. Cal. 1999) (disclaimers in contract
     consumers received after initial sales pitch were not sufficient to defeat summary
20   judgment on Section 5 falsity claim), aff’d 265 F.3d 944 (9th Cir. 2001); FTC v.
21   Medlab, Inc., 615 F. Supp. 2d 1068, 1077 (N.D. Cal. 2009) (“Defendants’ attempts
     to create a factual dispute in this issue are unavailing. . . . Defendants cannot
22
     inoculate themselves from the representations that appear in the body of the text by
23   including these cautionary statements at the foot of the advertisements.”); FTC v.
24   Cyberspace.com LLC, 453 F.3d 1196, 1200 (9th Cir. 2006) (holding that fine print
     disclaimers that contradicted express claims were ineffective).
25   80
            See, e.g., Navarro Decl., Att. 2 at 5 (paragraph f.).
     81
26          See, e.g., August 6, 2014 Bar Decision at 40 (ruling that Torchia failed to
     refund unearned fees to mass joinder clients).
27   82
            Kolodziej Decl., ¶ 21, Att. E.
28

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                  C. The Corporate Defendants are Liable as a Common
1                    Enterprise.
2
           Brookstone and Advantis form a classic common enterprise, the touchstone
3
     of which is operating through a “maze of interrelated companies” with shared
4
     control, office space, employees, and services.83 This standard is easily met here
5
     and extends to non-defendants like Broad Base Inc. and FMS, entities Kutzner
6
     controls and through which he has funneled significant consumer funds.
7
                  D. Each of the Individual Defendants Are Liable Because They
8                    Have Control, Participate in the Acts, and Have Knowledge.
9
           Each Individual Defendant is liable for injunctive relief because each
10
     controls the Corporate Defendants or participated in the wrongful conduct.84
11
     They are subject to monetary liability because they “had knowledge that the
12
     [company] or one of its agents engaged in dishonest or fraudulent conduct, that the
13
     misrepresentations were the type upon which a reasonable and prudent person
14
     would rely, and that consumer injury resulted.85 The “knowledge” requirement is
15
     met by proof of “actual knowledge of material misrepresentations, . . . reckless[]
16
     indifferen[ce] to the truth or falsity of a misrepresentation, or . . . awareness of a
17
     high probability of fraud along with an intentional avoidance of the truth.”86 “The
18
19   83
          See Delaware Watch v. FTC, 332 F.2d 745, 746 (2d Cir. 1964); FTC v.
20 Network Svcs Depot, 617 F.3d 1127, (9th Cir. 2010) (“[Q]ualities that may be
21 demonstrated by a showing of strongly interdependent economic interests or the
   pooling of assets and revenues.”); accord FTC v. J.K. Publications, Inc., 99 F.
22
   Supp. 2d 1176, 1202 (C.D. Cal. 2000) (common enterprise shown where corporate
23 defendants were under common control; shared office space, employees, and
   officers”).
24 84
          See, e.g., FTC v. Stefanchik, 559 F.3d 924, 931 (9th Cir. 2009); FTC v.
25 Publishing Clearing House, Inc., 1170-71 104 F.3d 1168, (9th Cir. 1997).
   85
26        FTC v. Grant Connect, LLC, 763 F.3d 1094, 1101 (9th Cir. 2014) (quoting
   Publishing Clearing House, 104 F.3d at 1171).
27 86     Grant Connect, 763 F.3d at 1101-02.
28

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1    extent of an individual’s involvement in a fraudulent scheme alone is sufficient to
2    establish the requisite knowledge for personal restitutionary liability.”87 Kutzner
3    and Torchia plainly had this knowledge given that they controlled the marketing
4    materials, changed the name of the operating company when Torchia began having
5    bar difficulties, and absconded when they believed that the California Court of
6    Appeals was going to hold mass joinders per se unlawful. Tarkowski and Marshall
7    have knowledge given that they took over following Torchia’s bar suspension and
8    received copies of filings in Wright v. Bank of America, detailing the likely
9    fraudulent aspects of defendants’ business.88 Broderick’s knowledge stems from
10 his ownership and operation of the companies following Torchia’s bar suspension.
11 See, Publishing Clearing House, 104 F.3d at 1171 (holding officer liable because
12 she filed for business licenses while knowing that the owner was facing criminal
13 charges). He also is aware of the high probability of fraud and is at least
14 intentionally avoiding the truth because he joined this scheme after the Connecticut
15 and Florida Attorneys General sued him for running a nearly identical scheme with
16 two individuals who taught Kutzner and Torchia how to run this scheme.89
17
18
19
20
21
     87
            FTC v. Affordable Media, 179 F.3d 1228, 1235 (9th Cir. 1999).
22   88
            The filing details defendants’ general unsavoriness, including defendants’
23   close connections to Kramer and Stein, and related unlawful conduct. Separate
24   Case Management Statement of Defendants, Wright v. Bank of America, No. 30-
     2011-00449059-CU-MT-CXC (Super. Ct. Orange, filed July 29, 2015).
25   Additionally, while Tarkowski and Marshall were lawyers of record, Brookstone
26   sent out notices to clients claiming they still expected to prevail in the lawsuit. See
     Rios Decl., ¶¶ 17-18 & Att. 7.
27   89
            Kramer and Gary DiGirolamo. See fn. 10.
28

                                               23
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                  E. Although Unnecessary For the Court’s Ruling, the FTC is also
1                    Likely to Prevail on the MARS Rule Counts, Including the
                     Advance Fee Ban.
2
3          All of the relief included in the proposed TRO is supported by defendants’
4    high likelihood of violating Section 5 of the FTC Act, and the Court need not reach
5    the following issue to grant the requested preliminary relief. Nonetheless,
6    defendants also violated several provisions of the Mortgage Assistance Relief
7    Services (“MARS”) Rule. 12 C.F.R. Part 1015 (recodified as Regulation O by the
8    Consumer Financial Protection Bureau). Defendants offered MARS by offering to
9    void consumers’ notes or otherwise obtain loan concessions through litigation. 12
10 C.F.R. § 1015.2 (“negotiating, obtaining, or arranging a modification of any term
11 of a dwelling loan”). As a result, they were prohibited from taking advance fees,
12 12 C.F.R. § 1015.5, and making any misrepresentations like those detailed above,
13 12 C.F.R. § 1015.3(b). Furthermore, their advertisements were required to include
14 certain disclosures, but did not do so. See 12 C.F.R. § 1015.4. The proposed TRO,
15 therefore, contains optional language for the Court to include if it decides to reach
16 this issue.
17         Defendants’ only possible defenses are that they fit within the narrow
18 exemption for some attorneys or that, because of a recent MARS Rule decision in
19 Wisconsin, the MARS Rule is invalid as applied to attorneys in the practice of law.
20 However, neither argument can prevail. First, the attorney exemption only applies
21 if defendants are (1) providing services as part of the practice of law, (2) licensed
22 in the relevant states, and (3) complying “with state laws and regulations that cover
23 the same type of conduct the rule requires.” 12 C.F.R. §1015.7(a). Factor (3)
24 requires compliance with state ethics rules, such as “the competent and diligent
25 provision of legal services, communication with clients, charging and receipt of
26 fees, promotion of services, and not engaging in fraudulent or deceitful conduct.”
27
28

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1    FTC’s MARS Rule Statement of Basis and Purpose, 75 F.R. 75128.90 As each of
2    the consumer declarants attest, they did not receive the services they were
3    promised and were unable to obtain timely updates on their legal representation.
4    Defendants absconded with unearned fees and sold their services with
5    misrepresentations. This is corroborated by the August 6, 2014, California State
6    Bar Court decision that Torchia violated his ethical duties and Torchia’s
7    admissions at the bar trial.91
8          Even if they met that exemption, defendants would still be barred from
9    advance fees unless they: (1) deposited fees in client trust accounts and (2)
10 maintained those accounts in accordance with state regulations. 12 CFR
11 1015.7(b). As the California Bar explains, fees withdrawn from client trust
12 accounts must be substantiated by work performed and the withdrawals must be
13 documented.92 Here, bank records show that funds were not deposited in client
14
15   90
          The FTC’s interpretation and explanation of its own rule has nearly the same
16 force as the rule’s text. See, e.g., Decker v. NW Environmental Defense Ctr., 133
17 S. Ct. 1326, 1337 (2013) (“It is well established that an agency’s interpretation
   need not be the only possible reading of a regulation—or even the best one—to
18 prevail. When an agency interprets its own regulation, the Court, as a general rule,
19 defers to it unless that interpretation is plainly erroneous or inconsistent with the
   regulation.”) (internal quotes omitted).
20 91     Torchia Trial Transcript at IV-118 (admitting that he and Brookstone failed
21 to adequately explain to consumers what it meant to be added to a case and when
   consumers could be added to cases, and further admitted that they had instilled
22
   “unreasonable expectations” in clients); Torchia Trial Transcript at IV-112 to IV-
23 114 (admitting that he and Brookstone failed to communicate with clients, even
24 after
   92
         they would send multiple complaints to him in writing).
          The California Bar’s “Handbook on Client Trust Accounting for California
25 Attorneys” explains that fees must be withdrawn after they have been earned and
26 unearned fees must be returned to the client as soon as they request them. At 20
   (withdrawal is appropriate after fees have been earned), available at
27 http://ethics.calbar.ca.gov/Publications/ClientTrustAccountingHandbook.aspx
28

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1    trust accounts and that defendants spent consumers’ money as soon as they
2    received it.93 Additionally, all consumers report defendants took advance fees and,
3    when refunds were sought, defendants could not substantiate what if any work was
4    done for them.
5          Second, the only other possible MARS Rule defense would rely on another
6    district’s almost certainly incorrect ruling that the MARS Rule is invalid as applied
7    to attorneys in the practice of law. CFPB v. The Mortgage Law Group LLP, 2016
8    U.S. Dist. LEXIS 4663 (W.D. Wisc. Jan. 14, 2016). That court’s ruling ignores
9    that the FTC was empowered to engage in rulemaking addressing “unfair or
10 deceptive acts or practices involving loan modification and foreclosure rescue
11 services” covering all entities “subject to enforcement of the Federal Trade
12 Commission Act.”94 Attorneys are, plainly, subject to enforcement of the FTC
13
14
15
16 (“Trust Handbook”). Although California law does not strictly require advance
17 fees be kept in a trust account, they are permitted to do so under California law and
   the MARS Rule is clear that fees must be kept in trust accounts to meet this
18 exemption from the advance fee ban. Statement of Basis and Purpose, 75 FR
19 75133. Furthermore, even if not maintained in a client trust account, the
   Handbook explains that advance fees must be accounted for in the same way.
20 Trust Handbook at 16 (stating that advance fees can be placed in trust accounts,
21 that they are not earned until work is performed, and that there is an accounting
   requirement for these fees “regardless of whether such fee payments are designated
22
   as ‘nonrefundable’ in the attorney-client fee agreement”).
23 93     George Decl., Att. A (showing accounts, none of which are client trust
24 accounts); Id., Att. C (monthly summaries of activity of accounts, showing money
   flowing out of the accounts nearly as fast as it is deposited).
25 94     Section 626 of the Omnibus Appropriations Act of 2009, as modified by the
26 Credit Card Act of 2009. This was not modified by the Dodd-Frank Act. Dodd-
   Frank Wall Street Reform and Consumer Protection Act, PL 111-203, 124 Stat
27 1376, § 1061(b)(5)(B)(i).
28

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1    Act.95 Indeed, this Court applied the FTC Act to attorneys under similar
2    circumstances in FTC v. A to Z Marketing, Inc., 13-cv-919 (C.D. Cal. Sept. 17,
3    2014) (granting summary judgment). The Mortgage Law Group ruling also fails
4    to take into account the FTC’s reasoned explanation of its authority over attorneys
5    in propounding the MARS Rule.96 Although that court cites no authority for its
6    ruling, it apparently relied on defendants’ mis-cited authority that attorneys are
7    beyond the FTC’s jurisdiction. ABA v. FTC, 430 F.3d 457 (D.C. Cir. 2005). That
8    authority, however, held only that attorneys are not “financial institutions” subject
9    to regulation under the Gramm-Leach-Bliley Act.97 The DC Circuit has even
10 suggested that, if read as a ruling that attorneys are beyond the scope of federal
11 regulation, the ruling is contrary to the Supreme Court’s decision in Milavetz,
12 Gallp & Milavetz, P.A. v. U.S., 559 U.S. 229 (2010), in which the Supreme Court
13 held that attorneys are bound by federal regulations.98
14
15   95
          See e.g., FTC v. Sup. Ct. Trial Lawyers Assoc., 493 U.S. 411 (1990)
16 (affirming a ruling that trial lawyers violated Section 5 by engaging in an illegal
17 boycott); FTC v. Gill, 265 F.3d 944 (9th Cir. 2001) (affirming summary judgment
   over attorney and law firm offering credit repair services); In the Matter of Wilson
18 Chemical Co., 64 F.T.C. 168 (1964) (holding attorney liable for his role in sending
19 deceptive
   96
               collections letters as part of deceptive scheme).
          Statement of Basis and Purpose, 75 FR 75128-32 (explaining the frequency
20 with which attorneys participate in MARS fraud schemes, the cases the FTC and
21 State AGs have brought, and the requirement that attorneys abide by state ethics
   rules to be entitled to an exemption from the MARS Rule).
22 97
          ABA, 430 F.3d at 381 (“[A]ttorneys and law firms, even viewed as
23 ‘institutions,’ are not institutions ‘the business of which is engaging in financial
24 activities,’ as defined in the statute.”). See also CFPB v. Frederick J. Hanna &
   Assocs. P.C., 2015 U.S. Dist. LEXIS 91357, *27-31 (N.D. Ga. July 14, 2015)
25 (rejecting arguments that the ABA decision requires that attorneys not be subject to
26 the
   98
       FDCPA).
          Ass'n of Private Sector Colleges & Universities v. Duncan, 681 F.3d 427,
27 459 (D.C. Cir. 2012).
28

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1          In any event, this misguided ruling is not binding on this Court.
2    Procedurally, that court has not issued its final ruling on the matter, leaving open
3    for trial whether the defendants are even attorneys in the practice of law, the
4    ultimate outcome of which could moot its decision on the scope of the MARS
5    Rule.99 Furthermore, even if interpreted as a current invalidation of the MARS
6    Rule as applied to attorneys in the practice of law, it does not bind this Court
7    because nonmutual collateral estoppel does not apply against the government.
8    United States v. Mendoza, 464 U.S. 154, 162 (1984). The Ninth Circuit has
9    similarly held that when a district court invalidates a rule, its ruling should not
10 constitute nationwide injunction against the government because such a result is
11 more than what is necessary to resolve the dispute amongst the parties and would
12 inappropriately stifle litigation where, as here, multiple courts in many
13 jurisdictions are likely to hear similar disputes. Los Angeles Haven Hospice, Inc.
14 v. Sebelius, 638 F.3d 644, 664-65 (9th Cir. 2011).100
15
16
17
18
19
20   99
            The court set trial to determine if the defendants in that case were even
21   attorneys in the practice of law. CFPB v. The Mortgage Law Group LLP, 14-cv-
     513 (W.D. Wisc., April 21, 2016).
22   100
            Admittedly, the Ninth Circuit has ruled otherwise in a decision later vacated.
23   Earth Island Institute v. Ruthenbeck, 490 F.3d 687, 699 (9th Cir. 2006)
24   (invalidation of a rule requires a nationwide injunction). On appeal to the Supreme
     Court, the Solicitor General argued that Earth Island is contrary to Mendoza. 2007
25   U.S. Briefs 463; 2008 U.S. S. Ct. Briefs LEXIS 615; 2008 WL 2817674.
26   Ultimately, the Supreme Court did not reach the issue, instead holding that the
     plaintiffs lacked standing to challenge the rule at issue and vacating the Ninth
27   Circuit’s ruling. Summers v. Earth Island Institute, 555 U.S. 488 (2009).
28

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       II.    AN EX PARTE TRO, WITH ASSET FREEZE, EXPEDITED
1             DISCOVERY, AND APPOINTMENT OF A TEMPORARY
              RECEIVER IS NECESSARY TO PREVENT DEFENDANTS FROM
2             DISSIPATING ASSETS AND DESTROYING EVIDENCE.
3                  A. An Ex Parte TRO is Necessary to Ensure This Court Will be
                      Able to Grant Effective Relief.
4
5            Because defendants are engaged in fraud and have proven themselves
6    incapable of complying with court orders, ex parte relief is necessary and
7    proper.101 Ex parte relief is particularly appropriate “when it is the sole method of
8    preserving a state of affairs in which the court can provide effective final relief.”102
9    In circumstances like these, providing defendants notice would defeat the purpose
10 of the TRO by giving them the opportunity to dissipate assets and destroy
11 evidence.
12           Defendants are unlikely to comply with court orders. The evolution of ULG
13 to Brookstone to Advantis shows defendants’ willingness to change names to
14 perpetuate their fraudulent practices. Additionally, Kutzner, Torchia, Broderick,
15 and Marshall are all MARS fraud recidivists. Kutzner in particular is violating a
16 prior order from this Court by perpetrating this fraud; the third time the FTC has
17 been forced to bring his unlawful actions to this Court’s attention.103 Aside from
18
19   101
          Fed. R. Civ. P. 65(b)(1)(a) (providing for ex parte relief when “immediate
20 and irreparable injury, loss, or damage will result” upon notice). As the Supreme
21 Court and Ninth Circuit have explained, ex parte relief is appropriate when
   necessary to preserve the status quo and particularly when defendants are unlikely
22
   to comply with court orders. Granny Goose Foods, Inc. v. Brotherhood of
23 Teamsters, 415 U.S. 423, 439 (1974); Reno Air Racing Ass’n, Inc. v. McCord, 452
24 F.3d
   102
        1126, 1131 (9th Cir. 2006).
          See In re Vuitton et Fils S.A., 606 F.2d 1, 4 (2nd Cir. 1979)
25 103    Kutzner is also violating the reporting obligations of his 2009 Order, which
26 require him to provide annual updates explaining his compliance with that order
   and identifying his residence and business activities. He has not filed such a report
27 since 2010. Lewis Decl. ¶ 5.
28

                                                29
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1    recidivism, Kutzner, Torchia, and Broderick have a history of violating court
2    orders. After ULG filed for bankruptcy, Kutzner, with Torchia’s help, violated a
3    bankruptcy court order when he absconded with ULG’s computers and monitors
4    by “breaking and entering” the bankruptcy estate’s premises.104 In one of the mass
5    joinder cases, Randall v. CitiGroup, the court sanctioned Brookstone and Torchia,
6    ultimately issuing a bench warrant to compel Torchia’s appearance after he and
7    Brookstone ignored the Court’s orders.105 Broderick is also likely violating his
8    own court order from his other recent mass joinder scheme. Moreover, in a case
9    related to that scheme, the court sanctioned him for failing to comply with his
10 discovery obligations,106 and he testified that during discovery and prior to a
11 30(b)(6) deposition he destroyed both the computer and cell phone he used to
12 conduct business.107 Finally, as explained in the FTC’s Rule 65 certification, FTC
13 defendants in cases like this one routinely attempt to thwart Court orders by
14 absconding with assets and destroying evidence. Rule 65(b)(1) Certification and
15 Declaration of Benjamin J. Theisman in Support of Ex Parte Motion for a
16 Temporary Restraining Order, Asset Freeze, Appointment of Temporary Receiver,
17 Limited Expedited Discovery, and Other Equitable Relief, and Order to Show
18
     104
19          In re United Law Group Inc., No. 10-18945 (Bankr. C.D. Cal.); Transcript
     of Hearing on June 30, 2011, at 94.
20   105
            See Order to Show Cause Re Compliance of August 7, 2016 Order (Dkt. 52)
21   and Why Enforcement or Contempt Proceedings Should Not Commence, Randall
     v. Citigroup, Inc., LA CV14-00097 JAK (AGRx) (C.D. Cal. Filed Feb. 23, 2015).
22   106
            Memorandum Opinion, First Mariner Bank v. The Resolution Law Group,
23   No. MJG-12-1133 (D. Md., Filed Oct. 24, 2013).
     107
24          After he had been sued and a few weeks to a month before a 30(b)(6)
     deposition, he destroyed the cell phone he used for business. Ex. 4, Deposition of
25   Robert Geoffrey Broderick, First Mariner Bank v. The Resolution Law Group, No.
26   12-cv-1133 (D. Md., Dec. 18, 2013) (“Broderick Depo”), at 78-80. He also
     disposed of the laptop that he used for business after he had been sued. Id. at 62-
27   68.
28

                                              30
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1    Cause Why a Preliminary Injunction Should Not Issue.108 Furthermore, this Court
2    has issued multiple orders like the Proposed TRO,109 as have other judges in this
3    district.110
4                   B. A Complete Asset Freeze is Necessary.
5
            An asset freeze is necessary to preserve the possibility of restitution for
6
     victimized consumers. This Court has the power to enter a complete asset
7
     freeze,111 which is necessary because defendants are likely to dissipate or hide
8
9
10
11   108
            Vuitton, 606 F.2d at 2-5 (granting ex parte relief based on certification that
12   in prior actions defendants had taken steps to thwart court orders).
     109
            Temporary Restraining Order Including an Asset Freeze and Limits on
13   Using Assets, Appointment of a Receiver, Immediate Access to Business Premises,
14   Limited Expedited Discovery, and an Order to Show Cause Why a Preliminary
     Injunction Should Not Issue, FTC v. A to Z Mktg., Inc. et al., No. SACV13-919
15
     DOC (RNBx) (C.D. Cal., June 19, 2013); Ex Parte Temporary Restraining Order
16   with Asset Freeze, Appointment of Temporary Receiver, Expedited Discovery, and
17   Other Equitable Relief, and Order to Show Cause Why Preliminary Injunction
     Should Not Issue, FTC v. Am. Mortgage Consulting Group, LLC et al., No.
18   SACV12-01561 DOC (JPRx) (C.D. Cal., Sept. 18, 2012).
     110
19          Ex Parte Temporary Restraining Order with Asset Freeze, Appointment of
     Temporary Receiver, Limited Expedited Discovery, and Other Equitable Relief,
20   and Order to Show Cause Why Preliminary Injunction Should Not Issue, FTC v.
21   Good EBusiness LLC et al., No. CV16-1048 ODW (JPRx) (C.D. Cal., Feb. 16,
     2016); Ex Parte Temporary Restraining Order and Other Equitable Relief, FTC v.
22
     Telestar Consulting, Inc. et al., No. CV-16-00555 SJO (SSx) (C.D. Cal., Feb. 1,
23   2016); Ex Parte Temporary Restraining Order with an Asset Freeze and Other
24   Equitable Relief, an Order to Show Cause Why a Preliminary Injunction Should
     Not Issue, FTC v. Bam Financial LLC et al., No. SACV 15-01672 JVS (DFMx)
25   (C.D. Cal., October 21, 2015).
     111
26          The Court has authority to issue an asset freeze. See, e.g., FTC v. H.N.
     Singer, Inc., 668 F.2d 1107, 1113 (9th Cir. 1990) (finding the district court
27   authorized to issue an asset freeze in 13(b) case).
28

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1    assets.112 As the Ninth Circuit explained, “[o]bviously, the public interest in
2    preserving the illicit proceeds . . . for restitution to the victims is great.” FTC v.
3    Affordable Media, 179 F.3d 1228, 1236 (9th Cir. 1999). As explained above,
4    defendants’ actions are permeated with fraud, which alone makes an asset freeze
5    necessary.113 Furthermore, the banking records show likely dissipation. The
6    largest, by far, share of disbursements from defendants’ enterprise go to an entity
7    known as Federal Management Services, Inc. (“FMS”), ostensibly controlled by a
8    convicted fraudster who is a professional incorporator in Nevada specializing in
9    providing corporate secrecy.114 In reality, FMS is almost certainly controlled by
10 Kutzner, who is using “straw” officers to hide these assets. This is consistent with
11 Kutzner’s history of using purportedly unrelated entities to hide funds. During his
12 2008 bankruptcy, he admitted to keeping significant assets in the name of
13
14
     112
            Johnson v. Couturier, 572 F.3d 1067, 1085 (9th Cir. 2009). Although under
15
     Johnson a court must find dissipation likely, previous Ninth Circuit law required
16   simply the possibility. FSLIC v. Sahni, 868 F.2d 1096, 1097 (9th Cir. 1989). It is
17   likely that this latter standard should apply in the context of a government
     enforcement action. The Johnson court overruled Sahni in the context of private
18   litigants where the private litigant was required to show “irreparable harm.”
19   Johnson, 572 F.3d at 1085, fn. 11. But, the FTC need not show irreparable harm in
     a statutory enforcement action like this one. Whatever the standard, the facts here
20   are sufficient.
     113
21          Fraudulent activities “lead to the conclusion that, absent a freeze,
     [defendants] would either dispose of, or conceal, or send abroad, all of the moneys
22
     that they have obtained[.]” H.N. Singer, 668 F.2d at 1113; S.E.C. v. Manor
23   Nursing Centers, Inc., 458 F.2d 1082, 1106 (2d Cir. 1972).
     114
24          George Decl., Att. B (showing Federal Management Services Inc. receiving
     22.9% of all disbursements from defendants’ bank accounts and further showing
25   the next largest recipient of money only received 9.07%.); Gales Decl., Att. 21
26   (signature card for FMS including Wayne Andre and Josephine Lobo); Kennedy
     Decl., Att. 11 (news article explaining Wayne Andre’s role in helping people set
27   up secret companies and detailing his previous financial misconduct).
28

                                                32
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1    companies he purportedly did not control for “asset protection” purposes.115
2    Similarly, as disclosed by FMS’ registered agent, Kutzner has in the past
3    controlled multiple other companies with “straw” officers hiding his
4    involvement.116 In addition, as shown above: (1) Kutzner uses aliases; (2)
5    defendants systematically and improperly dissipate consumer’ funds, in violation
6    of client trust accounting procedures; (3) Torchia blatantly ignored court sanctions
7    until hauled before the court on a bench warrant; (4) Brookstone refused to pay an
8    employee for work performed; and (5) Brookstone refused to comply with a court
9    order to refund money to a consumer, forcing that consumer to go to small claims
10 court twice.117 Given the nature of the fraud and defendants’ past practices, it is
11 highly likely that they will hide assets to thwart any possible recovery in this suit.
12
13
14
     115
            Ex. 5, Section 341(a) Creditors’ Examination of Damian Kutzner, In re
15
     Kutzner, No. 08-bk-12656 (Bankr. C.D. Cal., July 14, 2008) (“Kutzner Depo”) at
16   13-15.
     116
17          These documents include a list of companies that the registered agent
     provided services for, including entities like Black Gold Leasing Inc. that bank
18   records show Kutzner controlled, and other entities that the document associates
19   him with, but which he is absent from in the public records, including HTM LLC,
     Liberty Management Group Inc., Scripts Development Inc., UHG Inc., United
20   Holdings and Acquisitions Inc., and ZEC Management Corp. Gales Decl., Att. 8
21   (Federal Management Systems, Inc. Incorporation Papers, including list of entities
     the registered agent was resigning for and identifying the client); Gales Decl., Att.
22
     21 (showing Kutzner as a signer for Black Gold Leasing Inc.); Gales Decl., Att. 10
23   (Black Gold Leasing Inc. Incorporation Papers); Gales Decl., Att. 11 (HTM LLC
24   Incorporation Papers); Gales Decl., Att. 12 (Liberty Management Group Inc.
     Incorporation Papers); Gales Decl., Att. 13 (Scripts Development Inc.
25   Incorporation Papers); Gales Decl., Att. 14 (UHG Inc. Incorporation Papers);
26   Gales Decl., Att. 15 (United Holdings and Acquisitions Inc. Incorporation Papers);
     Gales Decl., Att. 16 (ZEC Management Corp. Incorporation Papers).
27   117
            Navarro Decl., ¶¶ 9-13.
28

                                              33
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                  C. The TRO’s Expedited Discovery Provisions Are Necessary to
1                    Preserve Assets and Evidence.
2
           The TRO contains expedited discovery provisions to ensure compliance with
3
     the TRO’s asset freeze and receivership provisions. Fed. R. Civ. P. 26(d)
4
     (permitting expedited discovery on motion of a party); Fed. R. Civ. P. 33(b)
5
     (permitting the Court to shorten discovery response periods); Fed. R. Civ. P. 34(b)
6
     (same); Fed. R. Civ. P. 36(a) (same); Pantron I, 33 F.3d at 1102 (“[T]he authority
7
     granted by section 13(b) is not limited to the power to issue an injunction; rather it
8
     includes the authority to grant any ancillary relief necessary to accomplish
9
     complete justice.”) (internal citations and quotations omitted). This Court has
10
     included these provisions in previous TROs118 and they are necessary given the
11
     likelihood that defendants will attempt to thwart this Court’s TRO.
12
                  D. A Temporary Receiver is Necessary to Preserve the Status
13                   Quo.
14
           Under Section 13(b) of the FTC Act, the Court has wide latitude to fashion
15
     temporary relief that furthers the statutory purpose. H.N. Singer, 668 F.2d at 1112-
16
     13. This power includes the appointment of a temporary receiver. See, e.g., FTC
17
     v. U.S. Oil & Gas Corp., 748 F.2d 1431, 1432 (11th Cir. 1984) (holding that the
18
     court has inherent power “to grant ancillary relief, including freezing assets and
19
     appointing a Receiver, as an incident to its express statutory authority to issue a
20
     permanent injunction under Section 13”) (per curiam). When a corporate
21
     defendant, through its management, has defrauded members of the public, “it is
22
     likely that, in the absence of the appointment of a receiver to maintain the status
23
     quo, the corporate assets will be subject to diversion and waste” to the detriment of
24
     the fraud’s victims. SEC v. First Fin. Group, 645 F.2d 429, 438 (5th Cir. 1981).
25
26
27   118
           See supra at fn. 109.
28

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1    Because the receiver would be taking over ostensible law firms, the specific
2    provisions in the proposed TRO provide guidance to protect “clients” and ensure
3    that the “clients” of the firm are able to obtain replacement counsel for any
4    pending actions.119 The proposed receivership includes Broad Base Inc. and FMS
5    in addition to Brookstone and Advantis. These entities share ownership and
6    employees, and are involved in the scheme. Such relief is necessary to ensure that
7    the receiver can fully take control over the enterprise and all of its assets. This
8    Court has previously included non-defendants in receiverships.120 Other courts
9    have also done so, using language nearly identical to that in the proposed TRO,121
10 including holding defendants liable for the conduct they committed through non-
11 defendant members of the common enterprise.122
12
13
14
15
     119
16          In particular, the proposed TRO requires the Temporary Receiver to identify
17   and preserve client files, contact current clients to inform them of the receivership,
     file notices in ongoing litigation informing those courts of the receivership, and file
18   requests for stays of litigation to allow clients to obtain replacement counsel in
19   light of the receivership.
     120
            See Temporary Restraining Order Including an Asset Freeze and Limits on
20   Using Assets, Appointment of a Receiver, Immediate Access to Business Premises,
21   Limited Expedited Discovery, and an Order to Show Cause Why a Preliminary
     Injunction Should Not Issue, FTC v. A to Z Mktg., Inc. et al., No. SACV13-919
22
     DOC (RNBx) (C.D. Cal., June 19, 2013).
     121
23          See Temporary Restraining Order with Ancillary Equitable Relief, Including
24   Asset Freeze, and an Order to Show Cause Why a Preliminary Injunction Should
     Not Issue, FTC v. Ideal Financial Solutions Inc. et al., No. 13-00143 MMD-GWF
25   (D. Nev., January 30, 2013).
     122
26          See, e.g., FTC v. Ideal Financial Solutions Inc., 2016 WL 756527 at *3 (D.
     Nev. Feb. 23, 2016) (holding defendants liable for $10 million in illegal conduct
27   committed through a non-defendant, Zeal Money Solutions).
28

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10
                          UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12
13   FEDERAL TRADE COMMISSION,

14          Plaintiff,                            Case No. ____________

15          v.                                    [PROPOSED] EX PARTE
                                                  TEMPORARY
16   DAMIAN KUTZNER, individually and as          RESTRAINING ORDER
     an officer of BROOKSTONE LAW P.C.            WITH ASSET FREEZE,
17   (California), BROOKSTONE LAW P.C.            APPOINTMENT OF
     (Nevada), ADVANTIS LAW P.C., and             TEMPORARY RECEIVER,
18   ADVANTIS LAW GROUP P.C.;VITO                 LIMITED EXPEDITED
     TORCHIA, JR., individually and as an         DISCOVERY, AND OTHER
19   officer of BROOKSTONE LAW P.C.               EQUITABLE RELIEF, AND
     (California) and BROOKSTONE LAW              ORDER TO SHOW CAUSE
20   P.C. (Nevada); JONATHAN                      WHY PRELIMINARY
     TARKOWSKI, individually and as an            INJUNCTION SHOULD NOT
21   officer of BROOKSTONE LAW P.C.               ISSUE
     (California) and BROOKSTONE LAW
22   P.C. (Nevada); R. GEOFFREY                   [LODGED UNDER SEAL]
     BRODERICK, individually and as an
23   officer of ADVANTIS LAW P.C. and
     ADVANTIS LAW GROUP P.C.;
24   CHARLES T. MARSHALL, individually
     and as an officer of ADVANTIS LAW
25   P.C. and ADVANTIS LAW GROUP P.C.;
     BROOKSTONE LAW P.C., d/b/a
26   BROOKSTONE LAW GROUP, a
     California professional corporation;
27   BROOKSTONE LAW P.C., d/b/a
     BROOKSTONE LAW GROUP, a Nevada
28
                                            1
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1     professional corporation; ADVANTIS
      LAW P.C., a California professional
2     corporation; and ADVANTIS LAW
      GROUP P.C., a California professional
3     corporation,

4                         Defendants.

5          Plaintiff, the Federal Trade Commission (“FTC”), pursuant to Section 13(b)
6    of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 53(b), and the
7    2009 Omnibus Appropriations Act, Public Law 111-8, Section 626, 123 Stat. 524,
8    678 (Mar. 11, 2009) (“Omnibus Act”), as clarified by the Credit Card
9    Accountability Responsibility and Disclosure Act of 2009, Public Law 111-24,
10   Section 511, 123 Stat. 1734, 1763-64 (Mar. 22, 2009) (“Credit Card Act”), and
11   amended by the Dodd-Frank Wall Street Reform and Consumer Protection Act,
12   Public Law 111-203, Section 1097, 124 Stat. 1376, 2102-03 (July 21, 2010)
13   (“Dodd-Frank Act”), 12 U.S.C. § 5538, has filed a complaint to obtain temporary,
14   preliminary, and permanent injunctive relief, rescission or reformation of contracts,
15   restitution, the refund of monies paid, disgorgement of ill-gotten monies, and other
16   equitable relief for Defendants’ acts or practices in violation of Section 5(a) of the
17   FTC Act, 15 U.S.C. § 45(a), and the Mortgage Assistance Relief Services Rule
18   (“MARS Rule”), 16 C.F.R. Part 322, recodified as Mortgage Assistance Relief
19   Services, 12 C.F.R. Part 1015 (“Regulation O”), and has applied for a temporary
20   restraining order pursuant to Rule 65(b) of the Federal Rules of Civil Procedure.
21                                  FINDINGS OF FACT
22         This Court, having considered the FTC’s Complaint, ex parte application,
23   declarations, exhibits, and memoranda filed in support of the FTC’s application,
24   and the evidence presented, finds that:
25         1.     This Court has jurisdiction over the subject matter of this case, and
26   there is good cause to believe it will have jurisdiction over all parties hereto;
27
28
                                                2
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1             2.   There is good cause to believe that venue lies properly with this
2    Court;
3             3.   There is good cause to believe that Defendants Damian Kutzner,
4    Advantis Law P.C., Advantis Law Group P.C., Brookstone Law P.C. (California),
5    Brookstone Law P.C. (Nevada), Vito Torchia, Jonathan Tarkowski, Geoffrey
6    Broderick, and Charles Marshall have engaged, and are likely to continue to
7    engage, in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. §
8    45(a), including but not limited to falsely and misleadingly representing, directly or
9    indirectly, expressly or by implication that:
10                 a. Defendants are likely to obtain relief for consumers, including in
11                    some instances “at least $75,000” or consumers’ homes free and
12                    clear;
13                 b. Defendants will seek to void consumers’ mortgages;
14                 c. Defendants have a team of experienced lawyers and personnel to
15                    litigate mass joinder cases alleging lender fraud and related claims
16                    on behalf of hundreds or thousands of clients simultaneously; and
17                 d. Defendants will file lawsuits on particular consumers’ behalf.
18            4.   [PROPOSED MARS RULE LANGUAGE: There is good cause to
19   believe that Defendants Damian Kutzner, Advantis Law P.C., Advantis Law Group
20   P.C., Brookstone Law P.C. (California), Brookstone Law P.C. (Nevada), Vito
21   Torchia, Jonathan Tarkowski, Geoffrey Broderick, and Charles Marshall have
22   engaged and are likely to continue to engage in acts or practices that violate the
23   MARS Rule, 12 C.F.R. Part 1015, including but not limited to:
24                 a. Misrepresenting, expressly or by implication, material aspects of
25                    any mortgage assistance relief services, in violation of the MARS
26                    Rule; 12 C.F.R. § 1015.3(b);
27
28
                                               3
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1                 b. Failing to make disclosures in all general and consumer-specific
2                    commercial communications as required by the MARS Rule; 12
3                    C.F.R. § 1015.4(a)-(c);
4                 c. Asking for or receiving payment of any fee or other consideration
5                    before a consumer has executed a written agreement between the
6                    consumer and the consumer’s loan holder or servicer incorporating
7                    the offer of mortgage assistance relief the provider obtained from
8                    the consumer’s loan holder or servicer in violation of the MARS
9                    Rule; 12 C.F.R. § 1015.5(a);]
10         5.     There is good cause to believe that immediate and irreparable harm
11   will result from Defendants’ ongoing violations of Section 5(a) of the FTC Act
12   [PROPOSED MARS RULE LANGUAGE: and MARS Rule] unless Defendants
13   are restrained and enjoined by Order of this Court;
14         6.     There is good cause to believe that the Court’s ability to grant
15   effective final relief for consumers in the form of monetary restitution and
16   disgorgement of ill-gotten gains will suffer immediate and irreparable damage
17   from the Defendants’ transfer, dissipation, or concealment of their Assets or
18   business records unless Defendants continue to be restrained and enjoined by
19   Order of this Court and that, in accordance with Fed. R. Civ. P. 65(b), the interest
20   of justice requires that the FTC’s application be heard ex parte without prior notice
21   to Defendants. Therefore, there is good cause for relieving the FTC of the duty to
22   provide Defendants with prior notice of the FTC’s application;
23         7.     Good cause exists to permit the FTC to take limited expedited
24   discovery from third parties as to the existence and location of Assets and
25   Documents;
26         8.     Weighing the equities and considering the FTC’s likelihood of
27   ultimate success, a temporary restraining order with an Asset freeze, limited
28
                                               4
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1    expedited discovery as to the existence and location of Assets and Documents, and
2    other equitable relief is in the public interest; and
3          9.     No security is required of any agency of the United States for the
4    issuance of a Temporary Restraining Order. Fed. R. Civ. P. 65(c).
5                                        DEFINITIONS
6          For the purposes of this Temporary Restraining Order, the following
7    definitions apply:
8          A.     “Asset” or “Assets” means any legal or equitable interest in, right to,
9    or claim to, any and all real and personal property of Defendants, or held for the
10   benefit of Defendants, wherever located, whether in the United States or abroad,
11   including but not limited to chattel, goods, instruments, equipment, fixtures,
12   general intangibles, effects, leaseholds, contracts, mail or other deliveries,
13   inventory, checks, notes, accounts, credits, receivables (as those terms are defined
14   in the Uniform Commercial Code), shares of stock, futures, all cash or currency,
15   and trusts, including but not limited to a trust held for the benefit of any Defendant,
16   any of the Individual Defendants’ minor children, or any of the Individual
17   Defendants’ spouses, and shall include both existing Assets and Assets acquired
18   after the date this order is signed, or any interest therein.
19         B.     “Asset Freeze Accounts” includes accounts that are held by or for the
20   benefit of, or controlled by, directly or indirectly, any Corporate Defendant,
21   Individual Defendant, Broad Base Inc., Federal Management Systems Inc., Black
22   Gold Leasing Inc., Doheny Development Corporation, HTM LLC, Liberty
23   Management Group Inc., Scripts Development Inc., Serious Pimp Inc., UHG Inc.,
24   United Holdings and Acquisitions Inc., Vizcayan Corporation, and ZEC
25   Management Corp. Asset Freeze Accounts also includes the following accounts,
26   identified by the account holder, the Financial Institution, and last four digits of the
27   account number:
28
                                                 5
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1               1.    Advantis Law, Bank of America, No. unknown;
2               2.    Advantis Law, California Republic Bank, No. unknown;
3               3.    Black Gold Leasing Inc., JPMorgan Chase, 7178;
4               4.    Broad Base Inc., JPMorgan Chase, 3379;
5               5.    Broad Base Inc., JPMorgan Chase, 3819;
6               6.    Brookstone Law P.C., JPMorgan Chase, 9552;
7               7.    Brookstone Law P.C., JPMorgan Chase, 8561;
8               8.    Brookstone Law P.C., JPMorgan Chase, 7928;
9               9.    Brookstone Law P.C., JPMorgan Chase, 8769;
10              10.   Brookstone Law P.C., JPMorgan Chase, 8819;
11              11.   Brookstone Law P.C., JPMorgan Chase, 6317;
12              12.   Brookstone Law P.C., JPMorgan Chase, 9052;
13              13.   Brookstone Law P.C., Bank of America, 0081;
14              14.   Brookstone Law P.C., Bank of America, 0097;
15              15.   Brookstone Law P.C., Bank of America, 0098;
16              16.   Brookstone Law P.C., Bank of America, 0099;
17              17.   Brookstone Law P.C., Bank of America, 2747;
18              18.   Brookstone Law P.C., Bank of America, 2748;
19              19.   Brookstone Law P.C., Bank of America, 2909;
20              20.   Brookstone Law P.C., Bank of America, 3466;
21              21.   Brookstone Law P.C., Bank of America, 8722;
22              22.   Brookstone Law P.C., Bank of America, 8735;
23              23.   Brookstone Law P.C., Bank of America, 7366;
24              24.   Brookstone Law P.C., CitiBank, No. unknown;
25              25.   Charles T. Marshall, JPMorgan Chase, 4691;
26              26.   Charles T. Marshall, JPMorgan Chase, 4708;
27              27.   Charles T. Marshall, JPMorgan Chase, 6085;
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1                 28.    Charles T. Marshall, JPMorgan Chase, 7957;
2                 29.    Charles T. Marshall, JPMorgan Chase, 8120;
3                 30.    Charles T. Marshall, JPMorgan Chase, 2107;
4                 31.    Charles T. Marshall, Bank of America, 1763;
5                 32.    Damian Kutzner, JPMorgan Chase, 9111;
6                 33.    Doheny Development Corp., JPMorgan Chase, 5983;
7                 34.    Federal Management Systems Inc., JPMorgan Chase, 2850;
8                 35.    Geoffrey Broderick, JPMorgan Chase, 9253;
9                 36.    Geoffrey Broderick, JPMorgan Chase, 3571;
10                37.    Geoffrey Broderick, JPMorgan Chase, 4891;
11                38.    Geoffrey Broderick, JPMorgan Chase, 9914;
12                39.    Geoffrey Broderick, JPMorgan Chase, 6319;
13                40.    Geoffrey Broderick, JPMorgan Chase, 9209;
14                41.    Vito Torchia, JPMorgan Chase, 8371;
15                42.    Vito Torchia, JPMorgan Chase, 3853;
16                43.    Vito Torchia, JPMorgan Chase, 7060;
17                44.    Vito Torchia, JPMorgan Chase, 8993;
18                45.    Vito Torchia, JPMorgan Chase, 5587;
19                46.    Vito Torchia, JPMorgan Chase, 7490;
20                47.    Vito Torchia, JPMorgan Chase, 9320; and
21                48.    Vizcayan Corporation, JPMorgan Chase, 7307.
22         C.     “Assisting others” includes but is not limited to: (1) performing
23   customer service functions, including, but not limited to, receiving or responding
24   to consumer complaints; (2) formulating or providing, or arranging for the
25   formulation or provision of, any advertising or marketing material, including but
26   not limited to, any telephone sales script, direct mail solicitation, or the design,
27   text, or use of images of any Internet website, email, or other electronic
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1    communications; (3) formulating or providing, or arranging for the formulation or
2    provision of, any marketing support material or service, including but not limited
3    to, web or Internet Protocol addresses or domain name registration for any Internet
4    websites, affiliate marketing services, or media placement services; (4) providing
5    names of, or assisting in the generation of, potential customers; (5) performing or
6    providing marketing, billing, or payment services of any kind; (6) acting or serving
7    as an owner, officer, director, manager, or principal of any entity; (7) providing
8    telemarketing services; or (8) consulting with regard to any of the above.
9          D.     “Corporate Defendants” means, collectively, Advantis Law P.C.,
10   Advantis Law Group P.C., Brookstone Law P.C. (California), Brookstone Law
11   P.C. (Nevada), and their successors, assigns, affiliates, or subsidiaries, and each of
12   them by whatever names each might be known.
13         E.     “Defendants” means all Individual Defendants, Corporate
14   Defendants, and their successors, assigns, affiliates, subsidiaries, or agents,
15   individually, collectively, or in any combination, and each of them by whatever
16   names each might be known.
17         F.     “Document” is synonymous in meaning and equal in scope to the
18   terms “Document” and “electronically stored information,” as described and used
19   in the Federal Rules of Civil Procedure. This includes, but is not limited to,
20   electronic mail, instant messaging, videoconferencing, and other electronic
21   correspondence (whether active, archived, or in a deleted items folder), word
22   processing files, spreadsheets, databases, and video and sound recordings, whether
23   stored on: cards; magnetic or electronic tapes; disks; computer hard drives,
24   network shares or servers, or other drives; cloud-based platforms; cell phones,
25   PDAs, computer tablets, or other mobile devices; or other storage media.
26         G.     “Electronic Data Host” means any person or entity in the business of
27   storing, hosting, or otherwise maintaining electronically stored information. This
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1    includes, but is not limited to, any entity hosting a website or server, and any entity
2    providing “cloud based” electronic storage.
3          H.     “Financial Institution” means any bank, savings and loan institution,
4    credit union, payment processor, trust, or any financial depository of any kind,
5    including but not limited to, any brokerage house, trustee, broker-dealer, escrow
6    agent, title company, commodity trading company, or precious metal dealer.
7          I.     “Individual Defendants” means, collectively, Damian Kutzner, Vito
8    Torchia, Jonathan Tarkowski, Geoffrey Broderick, Charles Marshall, and any other
9    names they might use, have used, be known by or have been known by.
10         J.     “Mortgage assistance relief product or service” or “MARS” means
11   any product, service, plan, or program, offered or provided to the consumer in
12   exchange for consideration, that is represented, expressly or by implication, to
13   assist or attempt to assist the consumer with any of the following:
14                1.     stopping, preventing, or postponing any mortgage or deed of
15   trust foreclosure sale for the consumer’s dwelling, any repossession of the
16   consumer’s dwelling, or otherwise saving the consumer’s dwelling from
17   foreclosure or repossession;
18                2.     negotiating, obtaining, or arranging a modification of any term
19   of a dwelling loan, including a reduction in the amount of interest, principal
20   balance, monthly payments, or fees;
21                3.     obtaining any forbearance or modification in the timing of
22   payments from any dwelling loan holder or servicer on any dwelling loan;
23                4.     negotiating, obtaining, or arranging any extension of the period
24   of time within which the consumer may (i) cure his or her default on a dwelling
25   loan, (ii) reinstate his or her dwelling loan, (iii) redeem a dwelling, or (iv) exercise
26   any right to reinstate a dwelling loan or redeem a dwelling;
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1                 5.     obtaining any waiver of an acceleration clause or balloon
2    payment contained in any promissory note or contract secured by any dwelling; or
3                 6.     negotiating, obtaining, or arranging (i) a short sale of a
4    dwelling, (ii) a deed-in-lieu of foreclosure, (iii) or any other disposition of a
5    dwelling loan other than a sale to a third party that is not the dwelling loan holder.
6          The foregoing shall include any manner of claimed assistance, including, but
7    not limited to, auditing or examining a consumer’s mortgage or home loan
8    application and offering to provide or providing legal services, or offering to sell a
9    consumer a plan or subscription to a service that provides such assistance.
10         K.     “Person” means any individual, group, unincorporated association,
11   limited or general partnership, corporation or other business entity.
12         L.     “Plaintiff” means the Federal Trade Commission (“Commission” or
13   “FTC”).
14         M.     “Receivership Entities” means Corporate Defendants and any
15   entities that are part of Defendants’ common enterprise, including but not limited
16   to Broad Base Inc. and Federal Management Systems Inc. “Receivership Entities”
17   includes businesses that lack formal legal structure (such as businesses operating
18   under fictitious business names), but that otherwise satisfy the definition of
19   “Receivership Entity.”
20         N.     “Temporary Receiver” means the Temporary Receiver appointed in
21   this Order. The term “Temporary Receiver” also includes any deputy receivers or
22   agents as may be named by the Temporary Receiver.
23                      I.     PROHIBITED REPRESENTATIONS
24         IT IS THEREFORE ORDERED that Defendants, Defendants’ officers,
25   agents, servants, employees, and attorneys, and all other persons in active concert
26   or participation with any of them, who receive actual notice of this Order, whether
27   acting directly or indirectly, in connection with the advertising, marketing,
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1    promotion, offering for sale, sale, or performance of any service or product, are
2    temporarily restrained and enjoined from misrepresenting or assisting others in
3    misrepresenting, expressly or by implication:
4          A.     Defendants are likely to obtain relief for consumers, including “at
5    least $75,000” or consumers’ homes free and clear;
6          B.     Defendants will seek to void consumers’ mortgages;
7          C.     Defendants have a team of experienced lawyers and personnel to
8    litigate mass joinder cases alleging lender fraud and related claims; and
9          D.     Defendants will file lawsuits on particular consumers’ behalf.
10   II.   [PROPOSED MARS RULE LANGUAGE: DISCLOSURES REQUIRED
           BY AND REPRESENTATIONS PROHIBITED BY THE MARS RULE
11
           IT IS FURTHER ORDERED that Defendants, Defendants’ officers,
12
     agents, servants, employees, and attorneys, and all other persons in active concert
13
     or participation with any of them, who receive actual notice of this Order, whether
14
     acting directly or indirectly, in connection with the advertising, marketing,
15
     promotion, offering for sale, sale, or provision of any mortgage assistance relief
16
     product or service, are hereby temporarily restrained and enjoined from engaging
17
     in, or assisting others in engaging in, the following conduct:
18
           A.     Misrepresenting, expressly or by implication, any material aspect of
19
     any mortgage assistance relief service, as required by 12 C.F.R. § 1015.3(b);
20
           B.     Failing to make the following disclosure in all general and consumer-
21
     specific commercial communications: “[Name of Company] is not associated with
22
     the government, and our service is not approved by the government or your
23
     lender,” as required by 12 C.F.R. § 1015.4(a)(1) & 1015.4(b)(2);
24
           C.     Failing to make the following disclosure in all general and consumer-
25
     specific commercial communications: “Even if you accept this offer and use our
26
     service, your lender may not agree to change your loan,” as required by 12 C.F.R.
27
     § 1015.4(a)(2) & 1015.4(b)(3); and
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1          D.      Failing to make the following disclosure in all consumer-specific
2    commercial communications: “You may stop doing business with us at any time.
3    You may accept or reject the offer of mortgage assistance we obtain from your
4    lender [or servicer]. If you reject the offer, you do not have to pay us. If you
5    accept the offer, you will have to pay us [insert amount or method for calculating
6    the amount] for our services,” as required by 12 C.F.R. § 1015.4(b)(1). For the
7    purposes of this subsection, the amount “you will have to pay” shall consist of the
8    total amount the consumer must pay to purchase, receive, and use all of the
9    mortgage assistance relief services that are the subject of the sales offer, including
10   but not limited to, all fees and charges.]
11          III. [PROPOSED MARS RULE LANGUAGE: ADVANCE FEE
                                 PROHIBITION
12
           IT IS FURTHER ORDERED that Defendants, Defendants’ officers,
13
     agents, servants, employees, and attorneys, and all other persons in active concert
14
     or participation with any of them, who receive actual notice of this Order, whether
15
     acting directly or indirectly, in connection with the advertising, marketing,
16
     promotion, offering for sale, sale, or provision of any mortgage assistance relief
17
     product or service are hereby temporarily restrained and enjoined from asking for,
18
     or receiving payment of, any fee or other consideration until a consumer has
19
     executed a written agreement between the consumer and the consumer’s loan
20
     holder or servicer incorporating the offer of mortgage assistance relief the
21
     Defendants obtained on the consumer’s behalf.]
22
          IV.      PRESERVATION OF RECORDS AND TANGIBLE THINGS
23
           IT IS FURTHER ORDERED that Defendants, Defendants’ officers,
24
     agents, servants, employees, and attorneys, and all other persons in active concert
25
     or participation with any of them, who receive actual notice of this Order, whether
26
     acting directly or indirectly, in connection with the advertising, marketing,
27
     promotion, offering for sale, sale, or provision of any product or service, are
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1    hereby temporarily restrained and enjoined from destroying, erasing, mutilating,
2    concealing, altering, transferring, or otherwise disposing of, in any manner,
3    directly or indirectly, any Documents or records that relate to the business
4    practices, or business and personal finances, of Defendants, or an entity directly or
5    indirectly under the control of Defendants.
6           V.     DISABLEMENT OF WEBSITES AND PRESERVATION OF
                       ELECTRONICALLY STORED INFORMATION
7
             IT IS FURTHER ORDERED that, immediately upon service of the Order
8
     upon them and pending determination of the FTC’s request for a preliminary
9
     injunction, (1) any Electronic Data Host and (2) Defendants, Defendants’ officers,
10
     agents, servants, employees, and attorneys, and all other persons in active concert
11
     or participation with any of them, who receive actual notice of this Order, whether
12
     acting directly or indirectly, shall:
13
             A.     Immediately take all necessary steps to ensure that any Internet
14
     website used by Defendants for the advertising, marketing, promotion, offering for
15
     sale, sale, or provision of services or products relating to consumers’ mortgages or
16
     containing statements or representations prohibited by Section I of this Order
17
     cannot be accessed by the public; and
18
             B.     Prevent the alteration, destruction or erasure of any (1) Internet
19
     website used by Defendants for the advertising, marketing, promotion, offering for
20
     sale, sale, or provision of services or products relating to consumers’ mortgages by
21
     preserving such websites in the format in which they are maintained currently and
22
     (2) any electronically stored information stored on behalf of Corporate Defendants,
23
     or entities in active concert or participation with any of them.
24
      VI.        SUSPENSION OF INTERNET DOMAIN NAME REGISTRATIONS
25
             IT IS FURTHER ORDERED that, pending determination of the FTC’s
26
     request for a preliminary injunction, any domain name registrar shall suspend the
27
     registration of any Internet website used by Defendants for the advertising,
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1    marketing, promotion, offering for sale, sale, or provision of services or products
2    relating to consumers’ mortgages or containing statements or representations
3    prohibited by Section I of this Order and provide immediate notice to counsel for
4    the FTC of any other Internet domain names registered by Defendants,
5    Defendants’ officers, agents, servants, employees, and attorneys, and all other
6    persons in active concert or participation with any of them who receive actual
7    notice of this Order by personal service or otherwise.
8          VII. PROHIBITION ON USE OF CUSTOMER INFORMATION
9          IT IS FURTHER ORDERED that Defendants, and Defendants’ officers,
10   agents, directors, servants, employees, salespersons, and attorneys, as well as all
11   other persons or entities in active concert or participation with them, who receive
12   actual notice of this Order by personal service or otherwise, whether acting directly
13   or through any trust, corporation, subsidiary, division, or other device, are hereby
14   temporarily restrained and enjoined from using, benefitting from, selling, renting,
15   leasing, transferring, or otherwise disclosing the name, address, telephone number,
16   email address, Social Security number, credit card number, debit card number,
17   bank account number, any financial account number, or any data that enables
18   access to any customer’s account, or other identifying information of any person
19   which any Defendant obtained prior to when this Order is signed in connection
20   with the marketing or sale of any good or service, including those who were
21   contacted or are on a list to be contacted by any of the Defendants; provided that
22   Defendants may disclose such identifying information to the Temporary Receiver,
23   a law enforcement agency, or as required by any law, regulation, or court order.
24                                 VIII. ASSET FREEZE
25         IT IS FURTHER ORDERED that Defendants, and their officers, agents,
26   servants, employees, and attorneys, and all other persons or entities directly or
27   indirectly under the control of any of them, and all other persons or entities in
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1    active concert or participation with any of them who receive actual notice of this
2    Order are hereby temporarily restrained and enjoined from directly or indirectly:
3           A.     Transferring, liquidating, converting, encumbering, pledging, loaning,
4    selling, concealing, dissipating, disbursing, assigning, spending, withdrawing,
5    granting a lien or security interest or other interest in, or otherwise disposing of any
6    Assets, or any interest therein, wherever located, including outside the United
7    States, that are:
8                  1.    Asset Freeze Accounts;
9                  2.    owned or controlled, directly or indirectly, by any Defendant, in
10   whole or in part, or held, in whole or in part, for the benefit of any Defendant;
11                 3.    in the actual or constructive possession of any Defendant;
12                 4.    owned, controlled by, or in the actual or constructive possession
13   of any corporation, partnership, or other entity directly or indirectly owned,
14   managed, or controlled by, or under common control with any Defendant,
15   including any entity acting under a fictitious name owned by or controlled by any
16   Defendant, and any Assets held by, for, or under the name of any Defendant at any
17   bank or savings and loan institution, or with any broker-dealer, escrow agent, title
18   company, commodity trading company, payment processing company, precious
19   metal dealer, or other Financial Institution or depository of any kind;
20          B.     Opening or causing to be opened any safe deposit boxes titled in the
21   name of any Defendant, or subject to access by any Defendant;
22          C.     Incurring charges or cash advances on any credit card, debit card, or
23   checking card issued in the name, singly or jointly, of any Defendant;
24          D.     Obtaining a personal or secured loan;
25          E.     Incurring liens or encumbrances on real property, personal property or
26   other Assets in the name, singly or jointly, of any Defendant; and
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1          F.     Cashing any checks or depositing any money orders or cash received
2    from consumers, clients, or customers of any Defendant.
3          IT IS FURTHER ORDERED that the Assets affected by this Section shall
4    include: (1) all Assets of Defendants as of the time this Order is signed; and (2) for
5    Assets obtained after the time this Order is signed, those Assets of Defendants that
6    are derived, directly or indirectly, from the Defendants’ activities as described in
7    the Commission’s Complaint, including the activities of any Receivership Entity.
8    This Section does not prohibit transfers to the Temporary Receiver, as specifically
9    required in the Section titled “Transfer of Funds to the Temporary Receiver by
10   Financial Institutions and Other Third Parties,” nor does it prohibit the repatriation
11   of foreign Assets, as specifically required in the Section titled “Repatriation of
12   Foreign Assets” of this Order.
13   IX.   RETENTION OF ASSETS AND DOCUMENTS BY THIRD PARTIES
14         IT IS FURTHER ORDERED that, pending determination of the FTC’s
15   request for a preliminary injunction, any Financial Institution, business entity,
16   Electronic Data Host, or person served with a copy of this Order that holds,
17   controls, or maintains custody of any account, Document, or Asset of, on behalf of,
18   in the name of, for the benefit of, subject to withdrawal by, subject to access or use
19   by, or under the signatory power of any Defendant, or other party subject to the
20   Asset Freeze above, or has held, controlled, or maintained any such account,
21   Document, or Asset, shall:
22         A.     Hold, preserve, and retain within such entity’s or person’s control, and
23   prohibit the withdrawal, removal, alteration, assignment, transfer, pledge,
24   hypothecation, encumbrance, disbursement, dissipation, conversion, sale,
25   liquidation, or other disposal of such account, Document, or Asset held by or under
26   such entity’s or person’s control, except as directed by further order of the Court;
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1          B.     Provide the Temporary Receiver immediate access to electronically
2    stored information stored, hosted, or otherwise maintained on behalf of any
3    Defendants for forensic imaging;
4          C.     Deny access to any safe deposit boxes that are either titled in the name
5    of, individually or jointly, or subject to access by, any Defendant or other party
6    subject to the Asset Freeze above; and
7          D.     Provide to counsel for the FTC, within one (1) business day, a sworn
8    statement setting forth:
9                 1.     the identification of each account or Asset titled in the name,
10   individually or jointly, or held on behalf of or for the benefit of, subject to
11   withdrawal by, subject to access or use by, or under the signatory power of any
12   Defendant or other party subject to the Asset Freeze above;
13                2.     the balance of each such account, or a description of the nature
14   and value of such Asset, as of the close of business on the day on which this Order
15   is served, the day before the Order is served, and the average daily balance for the
16   six months before the Order is served;
17                3.     the identification of any safe deposit box that is either titled in
18   the name of, individually or jointly, or is otherwise subject to access or control by,
19   any Defendant or other party subject to the Asset Freeze above; and
20                4.     if the account, safe deposit box, or other Asset has been closed
21   or removed, the date closed or removed, the balance on said date, and the name or
22   the person or entity to whom such account or other Asset was remitted;
23         E.     Provide counsel for the FTC, within three (3) business days after
24   being served with a request, copies of all Documents pertaining to such account or
25   Asset, including but not limited to: account statements, account applications,
26   signature cards, underwriting files, checks, deposit tickets, transfers to and from
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1    the accounts, wire transfers, all other debit and credit instruments or slips, 1099
2    forms, and safe deposit box logs; and
3           F.     Cooperate with all reasonable requests of the FTC relating to this
4    Order’s implementation.
5           IT IS FURTHER ORDERED that this Section shall apply to both existing
6    Documents, records, and Assets and to Documents, records, and Assets acquired
7    after the date this Order is signed. This Section does not prohibit transfers to the
8    Temporary Receiver, as specifically required in the Section titled “Transfer of
9    Funds to the Temporary Receiver by Financial Institutions and Other Third
10   Parties,” nor does it prohibit the repatriation of foreign Assets, as specifically
11   required in the Section titled “Repatriation of Foreign Assets” of this Order.
12              X.   FINANCIAL STATEMENTS AND ACCOUNTING
13          IT IS FURTHER ORDERED that each Defendant, within three (3)
14   business days of service of this Order, shall prepare and deliver to counsel for the
15   FTC:
16          A.     For Individual Defendants, a completed financial statement, accurate
17   as of the date of service of this Order upon such Defendant, in the form of
18   Attachment A to this Order captioned “Financial Statement of Individual
19   Defendant.”
20          B.     For Corporate Defendants, a completed financial statement, accurate
21   as of the date of service of this Order upon such Defendant (unless otherwise
22   agreed upon with FTC counsel), in the form of Attachment B to this Order
23   captioned “Financial Statement of Corporate Defendant.”
24                         XI. CREDIT REPORTS
25          IT IS FURTHER ORDERED that the FTC may obtain credit reports
26   concerning any Defendant pursuant to Section 604(a)(1) of the Fair Credit
27   Reporting Act, 15 U.S.C. § 1681b(a)(1), and that, upon written request, any credit
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1    reporting agency from which such reports are requested shall provide them to the
2    FTC.
3                   XII. REPATRIATION OF FOREIGN ASSETS
4           IT IS FURTHER ORDERED that, within three (3) days following the
5    service of this Order, each Defendant shall:
6           A.    Transfer to the territory of the United States and provide the FTC and
7    the Temporary Receiver with a full accounting of all Assets, Documents, and
8    records outside of the territory of the United States that are:
9                 1.     owned or controlled by;
10                2.     subject to access by;
11                3.     held in whole or in part for the benefit of;
12                4.     belonging to any entity that is directly or indirectly owned,
13          managed, or under the control of; or
14                5.     belonging to a person under the control of any Defendant;
15          B.    Hold all repatriated Assets, Documents, and records as required by the
16   Asset Freeze imposed by this Order; and
17          C.    Provide the FTC access to all records of accounts or Assets of the
18   Defendants held by any Financial Institution or other person located outside the
19   territorial United States by signing the Consent to Release of Financial Records
20   attached to this Order as Attachment C and by signing any other Documents
21   required by any person, including any Financial Institution, or other person holding
22   any such Asset.
23               XIII. NON-INTERFERENCE WITH REPATRIATION
24          IT IS FURTHER ORDERED that Defendants, and each of their
25   successors, assigns, members, officers, agents, servants, employees, and attorneys,
26   and those persons in active concert or participation with them who receive actual
27   notice of this Order by personal service or otherwise, whether acting directly or
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1    through any entity, corporation, subsidiary, division, affiliate or other device, are
2    hereby temporarily restrained and enjoined from taking any action, directly or
3    indirectly, that may result in the encumbrance or dissipation of foreign Assets, or
4    in the hindrance of the repatriation required by the preceding “Repatriation of
5    Assets” Section of this Order, including, but not limited to:
6          A.     Sending any statement, letter, fax, email or wire transmission, or
7    telephoning or engaging in any other act, directly or indirectly, that results in a
8    determination by a foreign trustee or other entity that a “duress” event has occurred
9    under the terms of a foreign trust agreement until such time that all Assets have
10   been fully repatriated pursuant to the “Repatriation of Assets” Section of this
11   Order; or
12         B.     Notifying any trustee, protector, or other agent of any foreign trust or
13   other related entities of either the existence of this Order, or of the fact that
14   repatriation is required pursuant to a court order, until such time that all Assets
15   have been fully repatriated pursuant to “Repatriation of Assets” Section of this
16   Order.
17            XIV. RECORDKEEPING AND BUSINESS OPERATIONS
18         IT IS FURTHER ORDERED that Defendants are hereby temporarily
19   restrained and enjoined from:
20         A.     Failing to create and maintain Documents that, in reasonable detail,
21   accurately, fairly, and completely reflect their incomes, disbursements,
22   transactions, and use of money;
23         B.     Creating, operating, or exercising any control over any business
24   entity, including any partnership, limited partnership, joint venture, sole
25   proprietorship, limited liability company or corporation, without first providing the
26   Commission with a written statement disclosing: (1) the name of the business
27   entity; (2) the address and telephone number of the business entity; (3) the names
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1    of the business entity’s officers, directors, principals, managers, and employees;
2    and (4) a detailed description of the business entity’s intended activities; and
3          C.     Affiliating with, becoming employed by, or performing any work for
4    any business that is not a named Defendant in this action without first providing
5    the Commission with a written statement disclosing: (1) the name of the business;
6    (2) the address and telephone number of the business; and (3) a detailed description
7    of the nature of the business or employment and the nature of the Defendant’s
8    duties and responsibilities in connection with that business or employment.
9                XV. APPOINTMENT OF TEMPORARY RECEIVER
10         IT IS FURTHER ORDERED that _____________________________ is
11   appointed Temporary Receiver for the Receivership Entities, with the full power of
12   an equity Receiver. The Temporary Receiver shall be the agent of this Court and
13   solely the agent of this Court in acting as Temporary Receiver under this Order.
14   The Temporary Receiver shall be accountable directly to this Court. The
15   Temporary Receiver shall comply with all local rules and laws governing federal
16   equity receivers.
17          XVI. COOPERATION WITH THE TEMPORARY RECEIVER
18         IT IS FURTHER ORDERED that Defendants shall fully cooperate with
19   and assist the Temporary Receiver. Defendants’ cooperation and assistance shall
20   include, but not be limited to, providing any information to the Temporary
21   Receiver that the Temporary Receiver deems necessary to exercise the authority
22   and discharge the responsibilities of the Temporary Receiver under this Order;
23   providing any login, password, or biometric identifier required to access any
24   computer or electronic files or information in or on any medium; and advising all
25   persons who owe money to the Receivership Entities that all debts should be paid
26   directly to the Temporary Receiver. Defendants are hereby restrained and enjoined
27   from directly or indirectly:
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1          A.     Transacting any of the business of the Receivership Entities;
2          B.     Excusing debts owed to the Receivership Entities;
3          C.     Destroying, secreting, defacing, transferring, or otherwise altering or
4    disposing of any Documents of the Receivership Entities;
5          D.     Transferring, receiving, altering, selling, encumbering, pledging,
6    assigning, liquidating, or otherwise disposing of any Assets owned, controlled, or
7    in the possession or custody of, or in which an interest is held or claimed by, the
8    Receivership Entities, or the Temporary Receiver;
9          E.     Failing to provide any assistance or information requested by the
10   Temporary Receiver in connection with obtaining possession, custody, or control
11   of any Assets within the receivership estate that the Receiver or the FTC has
12   identified; or
13         F.     Doing any act or thing whatsoever to interfere with the Temporary
14   Receiver’s taking and keeping custody, control, possession, or managing of the
15   Assets or Documents subject to this receivership; or to harass or interfere with the
16   Temporary Receiver in any way; or to interfere in any manner with the exclusive
17   jurisdiction of this Court over the Assets or Documents of the Receivership
18   Entities; or to refuse to cooperate with the Temporary Receiver or the Temporary
19   Receiver’s duly authorized agents in the exercise of their duties or authority under
20   any Order of this Court.
21        XVII. DUTIES AND AUTHORITY OF TEMPORARY RECEIVER
22         IT IS FURTHER ORDERED that the Temporary Receiver is directed and
23   authorized to accomplish the following:
24         A.     Assume full control of the Receivership Entities by removing, as the
25   Temporary Receiver deems necessary or advisable, any director, officer,
26   independent contractor, employee, attorney, or agent of any Receivership Entity
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1    from control of, management of, or participation in, the affairs of the Receivership
2    Entities;
3          B.     Take exclusive custody, control, and possession of all Assets and
4    Documents of, or in the possession, custody, or under the control of, any
5    Receivership Entity, wherever situated. The Temporary Receiver shall have full
6    power to divert mail and to sue for, collect, receive, take possession of, hold, and
7    manage all Assets and Documents of the Receivership Entities and other persons
8    or entities whose interests are now held by or under the direction, possession,
9    custody, or control of the Receivership Entities;
10         C.     Take all steps necessary to secure the business premises of the
11   Receivership Entities, which may include, but are not limited to, taking the
12   following steps as the Temporary Receiver deems necessary or advisable:
13   (1) serving and filing this Order; (2) completing a written inventory of all
14   receivership Assets; (3) obtaining pertinent information from all employees and
15   other agents of the Receivership Entities, including, but not limited to, the name,
16   home address, Social Security number, job description, method of compensation,
17   and all accrued and unpaid commissions and compensation of each such employee
18   or agent; (4) video-recording and/or photographing all portions of the location at
19   which any Receivership Entity conducts business or has Assets; (5) changing the
20   locks and disconnecting any computer networks or other means of access to
21   electronically stored information or other Documents maintained at that location;
22   or (6) requiring any persons present on the premises at the time this Order is served
23   to leave the premises, to provide the Temporary Receivers with proof of
24   identification, and/or to demonstrate to the satisfaction of the Temporary Receiver
25   that such persons are not removing from the premises Documents or Assets of the
26   Receivership Entities. Such authority shall include, but not be limited to, the
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1    authority to order any owner, director, officer, employee, or agent of the
2    Receivership Entities to leave the business premises;
3          D.     Conserve, hold, and manage all receivership Assets, and perform all
4    acts necessary or advisable to preserve the value of those Assets, in order to
5    prevent any irreparable loss, damage, or injury to consumers, including, but not
6    limited to, obtaining an accounting of the Assets and preventing the transfer,
7    withdrawal, or misapplication of Assets;
8          E.     Enter into contracts and purchase insurance as advisable or necessary;
9          F.     Prevent the inequitable distribution of Assets and determine, adjust,
10   and protect the interests of consumers and creditors who have transacted business
11   with the Receivership Entities;
12         G.     Manage and administer the business of the Receivership Entities until
13   further order of this Court by performing all incidental acts that the Temporary
14   Receiver deems to be advisable or necessary, which includes retaining, hiring, or
15   dismissing any employees, independent contractors, or agents;
16         H.     Continue and conduct the businesses of the Defendants in such
17   manner, to such extent, and for such duration as the Temporary Receiver may in
18   good faith deem to be necessary or appropriate to operate the businesses profitably,
19   using the Assets of the receivership estate, and lawfully, if at all;
20         I.     Choose, engage, and employ attorneys, accountants, appraisers,
21   investigators, and other independent contractors and technical specialists, as the
22   Temporary Receiver deems advisable or necessary in the performance of their
23   duties and responsibilities, including but not limited to the law firm in which the
24   Receiver is a partner;
25         J.     Make payments and disbursements from the receivership estate that
26   are necessary or advisable for carrying out the directions of, or exercising the
27   authority granted by, this Order. The Temporary Receiver shall apply to the Court
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1    for prior approval of any payment of any debt or obligation incurred by the
2    Receivership Entities prior to the date this Order is signed, except payments that
3    the Temporary Receiver deems necessary or advisable to secure Assets of the
4    Receivership Entities, such as rental payments;
5          K.     Collect any money due or owing to the Receivership Entities;
6          L.     Institute, compromise, adjust, appear in, intervene in, or become party
7    to such actions or proceedings in state, federal or foreign courts that the Temporary
8    Receiver deems necessary and advisable to preserve or recover the Assets of the
9    Receivership Entities, or to carry out the Temporary Receiver’s mandate under this
10   Order;
11         M.     Defend, compromise, adjust, or otherwise dispose of any or all actions
12   or proceedings instituted against the Receivership Entities or the Temporary
13   Receiver that the Temporary Receiver deems necessary and advisable to preserve
14   the Assets of the Receivership Entities, or to carry out the Temporary Receiver’s
15   mandate under this Order;
16         N.     Take depositions and issue subpoenas to obtain Documents and
17   records pertaining to the receivership and compliance with this Order. Subpoenas
18   may be served by electronic mail, by agents or attorneys of the Temporary
19   Receiver and by agents of any process server retained by the Temporary Receiver;
20         O.     Open one or more bank accounts as designated depositories for funds
21   of the Receivership Entities. The Temporary Receiver shall deposit all funds of
22   the Receivership Entities in such a designated account and shall make all payments
23   and disbursements from the receivership estate from such an account;
24         P.     Maintain accurate records of all receipts and expenditures made by the
25   Temporary Receiver;
26         Q.     Cooperate with reasonable requests for information or assistance from
27   any state or federal law enforcement agency;
28
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1          R.     Permit, within the Temporary Receiver’s discretion, copies of client
2    files to be given to a lawyer working for a Receivership Entity if the files relate to
3    a matter other than one within the scope of the allegations in the Complaint;
4          S.     File, within the Temporary Receiver’s discretion, notices in any
5    ongoing litigation being conducted by a lawyer working for or with the
6    Receivership Entity, informing that court and the parties, that the Receivership
7    Entities have been placed in a receivership, that the Receivership Entities are
8    withdrawing from the case, and further seek leave of that court for a stay of all
9    proceedings for at least ninety (90) days to permit any client of the Receivership
10   Entities to obtain replacement counsel, provided, however, that the Temporary
11   Receiver will not be required to litigate, or hire attorneys to litigate, any such
12   pending cases; and
13         T.     Identify all attorney-client files held by a Receivership Entity; take
14   reasonable steps to contact current clients to inform them of the receivership; take
15   reasonable steps to advise current clients that the Temporary Receiver will not be
16   providing any attorney services and that the clients may seek replacement counsel;
17   and return any client files to the clients upon request; provided, however, that the
18   Temporary Receiver maintain a copy of all such client files; and provided further,
19   the Temporary Receiver is authorized to work with representatives of the
20   California State Bar to perform these actions.
21    XVIII.    TRANSFER OF FUNDS TO THE TEMPORARY RECEIVER
            BY FINANCIAL INSTITUTIONS AND OTHER THIRD PARTIES
22
           IT IS FURTHER ORDERED that, upon service of a copy of this Order,
23
     any Financial Institution shall cooperate with all reasonable requests of counsel for
24
     the FTC and the Temporary Receiver relating to implementation of this Order,
25
     including transferring funds at the Temporary Receiver’s direction and producing
26
     records related to the Assets and sales of the Receivership Entities.
27
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                     XIX. TEMPORARY RECEIVER’S REPORTS
1
           IT IS FURTHER ORDERED that the Temporary Receiver shall report to
2
     this Court at least one day before the date set for the hearing regarding the
3
     Preliminary Injunction, regarding: (1) the steps taken by the Temporary Receiver
4
     to implement the terms of this Order; (2) the value of all liquidated and
5
     unliquidated Assets of the Receivership Entities; (3) the sum of all liabilities of the
6
     Receivership Entities; (4) the steps the Temporary Receiver intends to take in the
7
     future to: (a) prevent any diminution in the value of Assets of the Receivership
8
     Entities; (b) pursue receivership Assets from third parties; and (c) adjust the
9
     liabilities of the Receivership Entities, if appropriate; and (5) any other matters
10
     which the Temporary Receiver believes should be brought to the Court’s attention.
11
     Provided, however, if any of the required information would hinder the Temporary
12
     Receiver’s ability to pursue receivership Assets, the portions of the Temporary
13
     Receiver’s report containing such information may be filed under seal and not
14
     served on the parties.
15
                        XX. TEMPORARY RECEIVER’S BOND
16
           IT IS FURTHER ORDERED that the Temporary Receiver shall file with
17
     the Clerk of this Court a bond in the sum of $_______ with sureties to be approved
18
     by the Court, conditioned that the Temporary Receiver will well and truly perform
19
     the duties of the office and abide by and perform all acts the Court directs.
20
             XXI. COMPENSATION OF THE TEMPORARY RECEIVER
21
           IT IS FURTHER ORDERED that the Temporary Receiver, and all persons
22
     or entities retained or hired by the Temporary Receiver as authorized under this
23
     Order, shall be entitled to reasonable compensation for the performance of duties
24
     undertaken pursuant to this Order and for the cost of actual out-of-pocket expenses
25
     incurred by them from the Assets now held by or in the possession or control of, or
26
     which may be received by, the Receivership Entities. The Temporary Receiver
27
     shall file with the Court and serve on the parties a request for the payment of
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1    reasonable compensation at the time of the filing of any report required by the
2    “Temporary Receiver’s Reports” Section of this Order. The Temporary Receiver
3    shall not increase the fees or rates used as the bases for such fee applications
4    without prior approval of the Court.
5      XXII. TEMPORARY RECEIVER’S ACCESS TO BUSINESS PREMISES
                             AND RECORDS
6
           IT IS FURTHER ORDERED that:
7
           A.     The Temporary Receiver, and his representatives, agents, and
8
     assistants, shall have immediate access to all business premises and storage
9
     facilities, owned, controlled, or used by any Receivership Entity, including but not
10
     limited to the offices and facilities at 6 Hutton Centre Drive, Suite 1000, Santa
11
     Ana, CA 92707, and any offsite commercial mail boxes or virtual offices used by
12
     any Receivership Entity. The Temporary Receiver is authorized to employ the
13
     assistance of law enforcement as he deems necessary to effect service and
14
     peacefully implement this Order. The Temporary Receiver may exclude
15
     Receivership Entities and their employees from part or all of the business premises
16
     during the immediate access. The purpose of the immediate access shall be to
17
     effect service and to inspect and copy the business and financial records of the
18
     Receivership Entities, including forensic imaging of electronically stored
19
     information. Such business records include, but are not limited to, correspondence,
20
     contracts, emails, and financial data;
21
           B.     The Temporary Receiver and its representatives, agents, and
22
     assistants, shall have the right to remove materials from the above-listed premises
23
     for inspection and copying;
24
           C.     Receivership Entities and all employees or agents of Receivership
25
     Entities shall provide the Temporary Receiver with any necessary means of access
26
     to Documents and records, including, without limitation, the locations of the
27
28
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1    Receivership Entities’ business premises, keys and combinations to locks,
2    computer access codes, and storage area access information;
3            D.   If any Individual Defendant possesses a smartphone or tablet on
4    receivership premises, they will turn over the device to the Receiver for imaging.
5    Within two business days, the Temporary Receiver will return the device; and
6            E.   If any Documents, computers, smartphones, tablets, or electronic data
7    storage devices containing information related to the business practices or finances
8    of the Receivership Entities are at a location other than those listed herein,
9    including but not limited to, the personal residence(s) of the Defendants, then,
10   immediately upon notice of this Order, Defendants shall produce to the Temporary
11   Receiver all such Documents, computers, smartphones, tablets, or electronic data
12   storage devices. To prevent the destruction of electronic data, upon service of this
13   Order upon any Receivership Entity, any computers, smartphones, tablets, or
14   electronic data storage devices containing such information shall be powered down
15   (turned off) in the normal course for the operating systems used on such devices
16   and shall not be used until produced for copying and inspection, along with any
17   codes needed for access. For any smartphone or tablet that contains information
18   related to the business practices or finances of the Receivership Entities that is in
19   the personal possession of an Individual Defendant, the Temporary Receiver shall
20   image that device and return it to the Individual Defendant within two business
21   days.
22           XXIII.     PARTIES’ ACCESS TO BUSINESS PREMISES AND
                                     RECORDS
23
             IT IS FURTHER ORDERED that the Temporary Receiver shall allow the
24
     FTC, the Defendants, and their representatives reasonable access to the premises of
25
     the Receivership Entities. The purpose of this access shall be to inspect, inventory,
26
     and copy any Documents and other property owned by, or in the possession of, the
27
     Receivership Entities, provided that those Documents and property are not
28
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1    removed from the premises without the permission of the Temporary Receiver.
2    The Temporary Receiver shall have the discretion to determine the time, manner,
3    and reasonable conditions of such access. The Temporary Receiver will segregate
4    all materials subject to an attorney-client privilege held by a Receivership Entity’s
5    clients and shall not make these materials available to either the FTC or
6    Defendants without the clients’ consent. The FTC’s access to any Documents
7    pursuant to this provision shall not provide grounds for any Defendant to object to
8    any subsequent request for Documents served by the FTC.
9                 XXIV.   LIMITED EXPEDITED DISCOVERY
10         IT IS FURTHER ORDERED that the Temporary Receiver and the FTC
11   are granted leave to conduct certain expedited discovery and that in lieu of the time
12   periods, notice provisions, and other requirements of the applicable Local Rules for
13   this District and Rules 26, 30, 34, and 45 of the Federal Rules of Civil Procedure,
14   the Temporary Receiver and the FTC are granted leave to:
15         A.     Depose, on three (3) days’ notice, any party or non-party for the
16   purpose of discovering: (1) the nature, location, status, and extent of Assets of
17   Defendants or their affiliates or subsidiaries; (2) the nature and location of
18   Documents and business records of Defendants or their affiliates or subsidiaries;
19   and (3) compliance with this Order. Any such depositions shall not be counted
20   toward any deposition limit set forth in the Federal Rules of Civil Procedure or this
21   Court’s Local rules and shall not preclude the FTC from subsequently deposing the
22   same person during discovery on the merits in this case. Depositions may be taken
23   by telephone, video conference, or other remote means. Any deposition taken
24   pursuant to this Section that has not been reviewed and signed by the deponent
25   may be used by any party for purposes of any preliminary injunction hearing;
26         B.     Serve upon parties interrogatories or requests for production of
27   Documents or inspection that require a response, production or inspection within
28
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1    four (4) days of service, and may serve subpoenas upon non-parties that direct
2    production or inspection within seven (7) days of service, for the purpose of
3    discovering: (1) the nature, location, status, and extent of Assets of Defendants or
4    their affiliates or subsidiaries; (2) the nature and location of Documents and
5    business records of Defendants or their affiliates or subsidiaries; and (3)
6    compliance with this Order; provided, however, that forty-eight (48) hours’ notice
7    shall be deemed sufficient for the production of any such Documents that are
8    maintained or stored as electronic data. Any such interrogatories or requests for
9    production or inspection shall not count toward any limit on discovery set forth in
10   the Federal Rules of Civil Procedure or this Court’s Local Rules;
11         C.     For purposes of this Section, serve deposition notices and other
12   discovery requests upon the parties to this action personally or by facsimile, email,
13   certified or registered mail, or private courier (including a process server) with a
14   receipt from the courier showing delivery; and
15         D.     Pursuant to Fed. R. Civ. P. 45, subpoena Documents immediately
16   from any Financial Institution, business entity, Electronic Data Host, or person
17   served with a copy of this Order that holds, controls, or maintains custody of any
18   account, Document, or Asset of, on behalf of, in the name of, for the benefit of,
19   subject to withdrawal by, subject to access or use by, or under the signatory power
20   of any Defendant or other party subject to the Asset Freeze above, or has held,
21   controlled, or maintained any such account, Document, or Asset. The recipient
22   shall respond to such subpoena within three (3) business days after service. The
23   FTC may effect service by electronic mail.
24                          XXV. BANKRUPTCY PETITIONS
25         IT IS FURTHER ORDERED that, in light of the appointment of the
26   Temporary Receiver, the Receivership Entities are hereby prohibited from filing
27
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1    petitions for relief under the United States Bankruptcy Code, 11 U.S.C. § 101 et
2    seq., without prior permission from this Court.
3                          XXVI.        PRE-EXISTING ORDERS
4          IT IS FURTHER ORDERED that nothing herein modifies any existing
5    Order in any way, including the Orders governing Damian Kutzner. See FTC v.
6    GM Funding, Inc., SACV02-1026 DOC (C.D. Cal.), Stipulated Judgment and
7    Order for Permanent Injunction as to Defendants GM Funding, Inc., Robert D.
8    Kutzner, Global Mortgage Funding, Inc., and Damian R. Kutzner (May 5, 2003);
9    U.S. v. Global Mortgage Funding, Inc., SACV07-1275 DOC (C.D. Cal.),
10   Stipulated Judgment and Order for Permanent Injunction (July 17, 2009). The
11   FTC may take discovery and pursue any other measure any existing Order permits.
12                             XXVII.      STAY OF ACTIONS
13         IT IS FURTHER ORDERED that:
14         A.     Except by leave of this Court, during the pendency of the Temporary
15   Receivership ordered herein, the Receivership Entities and all customers,
16   principals, investors, creditors, stockholders, lessors, and other persons seeking to
17   establish or enforce any claim, right, or interest against or on behalf of the
18   Receivership Entity, and all others acting for or on behalf of such persons,
19   including attorneys, trustees, agents, sheriffs, constables, marshals, and other
20   officers and their deputies, and their respective attorneys, servants, agents, and
21   employees be and are hereby stayed from:
22                1.     Commencing, prosecuting, continuing, entering, or enforcing
23   any suit or proceeding, except that such actions may be filed to toll any applicable
24   statute of limitations;
25                2.     Accelerating the due date of any obligation or claimed
26   obligation; filing or enforcing any lien; taking or attempting to take possession,
27   custody, or control of any Asset; attempting to foreclose, forfeit, alter, or terminate
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1    any interest in any Asset, whether such acts are part of a judicial proceeding, are
2    acts of self-help, or otherwise;
3                  3.    Executing, issuing, serving, or causing the execution, issuance
4    or service of, any legal process, including, but not limited to, attachments,
5    garnishments, subpoenas, writs of replevin, writs of execution, or any other form
6    of process, whether specified in this Order or not; or
7                  4.    Doing any act or thing whatsoever to interfere with the
8    Temporary Receiver’s taking custody, control, possession, or management of
9    Assets or Documents subject to this receivership; or to harass or interfere with the
10   Temporary Receiver in any way; or to interfere in any manner with the exclusive
11   jurisdiction of this Court over the Assets or Documents of the Receivership
12   Entities.
13          B.     This Section does not stay:
14                 1.    The commencement or continuation of a criminal action or
15   proceeding;
16                 2.    The commencement or continuation of an action or proceeding
17   by a governmental unit to enforce such governmental unit’s police or regulatory
18   power;
19                 3.    The enforcement of a judgment, other than a money judgment,
20   obtained in an action or proceeding by a governmental unit to enforce such
21   governmental unit’s police or regulatory power, including but not limited to any
22   actions (including discovery) taken by the FTC in enforcing the Orders in the
23   related matters, FTC v. GM Funding, Inc., SACV02-1026 DOC (C.D. Cal.), U.S. v.
24   Global Mortgage Funding, Inc., SACV07-1275 DOC (C.D. Cal.); or
25                 4.    The issuance to the Receivership Entities of a notice of tax
26   deficiency.
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          XXVIII.      ACKNOWLEDGMENT OF RECEIPT OF ORDER BY
1                                DEFENDANTS
2          IT IS FURTHER ORDERED that each Defendant, within three (3)
3    business days of receipt of this Order, must submit to counsel for the FTC a
4    truthful sworn statement acknowledging receipt of this Order.
5                XXIX.         CORRESPONDENCE WITH PLAINTIFF
6          IT IS FURTHER ORDERED that, for the purposes of this Order, because
7    mail addressed to the FTC is subject to delay due to heightened security screening,
8    all correspondence and service of pleadings on Plaintiff shall be sent via electronic
9    submission and Federal Express to:
10
                  Benjamin Theisman
11                Gregory Madden
12                Federal Trade Commission
                  600 Pennsylvania Ave., NW, Mail Drop CC-9528
13
                  Washington, DC 20580
14                Telephone: (202) 326-2223, -2426
15
                  btheisman@ftc.gov, gmadden@ftc.gov

16                          XXX. SERVICE OF THIS ORDER

17
           IT IS FURTHER ORDERED that copies of this Order may be served by

18
     facsimile, email, hand-delivery, personal or overnight delivery, or U.S. Mail, by

19
     agents and employees of the FTC or any state or federal law enforcement agency

20
     or by private process server, upon any Financial Institution or other entity or

21
     person that may have possession, custody, or control of any Documents or Assets

22
     of any Defendant, or that may otherwise be subject to any provision of this Order.

23
     Service upon any branch or office of any Financial Institution shall effect service

24
     upon the entire Financial Institution.

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                 XXXI.         PRELIMINARY INJUNCTION HEARING
1
           IT IS FURTHER ORDERED, pursuant to Fed. R. Civ. P. 65(b), that each
2
     of the Defendants shall appear before this Court on the _____ day of
3
     _____________, 2016, at ___________ AM/PM, Pacific Daylight Time, at the
4
     United States District Courthouse, Courtroom ____, Santa Ana, California, to
5
     show cause, if there is any, why this Court should not enter a preliminary
6
     injunction enjoining the violations of law alleged in the FTC’s Complaint,
7
     continuing the freeze of their Assets, and imposing such additional relief as may be
8
     appropriate.
9
           IT IS FURTHER ORDERED that the Defendants shall file with the Court
10
     and serve on the FTC’s counsel any answering pleadings, affidavits, motions,
11
     expert reports, declarations, witness lists with detailed summaries of expected
12
     witness testimony, and/or legal memoranda, no later than seven days prior to the
13
     hearing. The FTC may file responsive or supplemental pleadings, materials,
14
     affidavits, witness lists with detailed summaries of expected witness testimony,
15
     and/or memoranda with the Court and serve them on Defendants’ counsel no later
16
     than one day prior to that hearing. Such affidavits, pleadings, motions, expert
17
     reports, declarations, witness lists with detailed summaries of expected witness
18
     testimony, legal memoranda and/or oppositions must be served by electronic mail
19
     (or Federal Express, if electronic mail is impractical), and must be received by the
20
     other party no later than the deadlines set forth in this Section.
21
                            XXXII.       DURATION OF ORDER
22
           IT IS FURTHER ORDERED that the Temporary Restraining Order
23
     granted herein shall expire on the _________ day of _____________________,
24
     2016, at ______ AM/PM, Pacific Daylight Time, unless within such time the
25
     Order, for good cause shown, is extended for an additional period not to exceed
26
     fourteen (14) calendar days, or unless it is further extended pursuant to Federal
27
     Rule of Civil Procedure 65.
28
                                                35
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                     XXXIII.      RETENTION OF JURISDICTION
1
           IT IS FURTHER ORDERED that this Court shall retain jurisdiction of
2
     this matter for all purposes of construction, modification, and enforcement of this
3
     Order.
4
5
           IT IS SO ORDERED, this __ day of __________________, 2016, at
6
     ______ AM/PM, Pacific Daylight Time.
7
8
     Dated: ______________                                        _______
9                                           DAVID O. CARTER
                                            UNITED STATES DISTRICT JUDGE
10
11
12
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14
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                                              36
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                                              FEDERAL TRADE COMMISSION

                                 FINANCIAL STATEMENT OF INDIVIDUAL DEFENDANT

Definitions and Instructions:

    1. Complete all items. Enter “None” or “N/A” (“Not Applicable”) in the first field only of any item that does not apply
       to you. If you cannot fully answer a question, explain why.

    2. “Dependents” include your spouse, live-in companion, dependent children, or any other person, whom you or your
       spouse (or your children’s other parent) claimed or could have claimed as a dependent for tax purposes at any
       time during the past five years.

    3. “Assets” and “Liabilities” include ALL assets and liabilities, located within the United States or any foreign country
       or territory, whether held individually or jointly and whether held by you, your spouse, or your dependents, or held
       by others for the benefit of you, your spouse, or your dependents.

    4. Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
       being continued. On the continuation page(s), identify the Item number(s) being continued.

    5. Type or print legibly.

    6. Initial each page in the space provided in the lower right corner.

    7. Sign and date the completed financial statement on the last page.


Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) “in any matter within the jurisdiction of the executive, legislative, or judicial branch of the Government of the
United States, knowingly and willfully falsifies, conceals or covers up by any trick, scheme, or devise a material fact;
makes any materially false, fictitious or fraudulent statement or representation; or makes or uses any false writing or
document knowing the same to contain any materially false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

          (2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

        (3) “in any ( . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any false
material declaration or makes or uses any other information . . . knowing the same to contain any false material
declaration” (18 U.S.C. § 1623).

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross
loss. 18 U.S.C. § 3571.




                                                                     Federal Trade Commission Financial Statement of Individual Defendant
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                                                    BACKGROUND INFORMATION
Item 1. Information About You
Full Name                                                                   Social Security No.

Current Address of Primary Residence                                        Driver’s License No.                                            State Issued

                                                                            Phone Numbers                    Date of Birth:   /   /
                                                                            Home: (   )                                    (mm/dd/yyyy)
                                                                            Fax: (    )                      Place of Birth

   Rent      Own             From (Date):      /   /                        E-Mail Address
                                            (mm/dd/yyyy)
Internet Home Page


Previous Addresses for past five years (if required, use additional pages at end of form)
Address                                                                                              From:      /   /              Until:      /   /
                                                                                                             (mm/dd/yyyy)                   (mm/dd/yyyy)

                                                                                                         Rent        Own
Address                                                                                              From:       /    /           Until:      /   /


                                                                                                         Rent        Own
Address                                                                                              From:       /    /           Until:      /   /


                                                                                                         Rent        Own
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they
were used:


Item 2. Information About Your Spouse or Live-In Companion
Spouse/Companion's Name                                                     Social Security No.                  Date of Birth
                                                                                                                    /   /
                                                                                                                 (mm/dd/yyyy)
Address (if different from yours)                                           Phone Number                         Place of Birth
                                                                            (     )
                                                                                Rent    Own               From (Date):    /  /
                                                                                                                      (mm/dd/yyyy)
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they were used:


Employer’s Name and Address                                                 Job Title

                                                                            Years in Present Job     Annual Gross Salary/Wages
                                                                                                     $


Item 3. Information About Your Previous Spouse
Name and Address                                                                                     Social Security No.

                                                                                                     Date of Birth
                                                                                                        /    /
                                                                                                     (mm/dd/yyyy)

Item 4. Contact Information (name and address of closest living relative other than your spouse)
Name and Address                                                                                     Phone Number
                                                                                                     (     )




                                                                                                                                               Initials:

                                                                  1 of 10        Federal Trade Commission Financial Statement of Individual Defendant
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Item 5. Information About Dependents (whether or not they reside with you)
Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        /    /
                                                                                                                     (mm/dd/yyyy)
                                                                               Relationship

Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        /    /
                                                                                                                     (mm/dd/yyyy)
                                                                               Relationship


Name and Address                                                                                                         Date of Birth
                                                                               Social Security No.
                                                                                                                            /    /
                                                                                                                         (mm/dd/yyyy)
                                                                               Relationship


Name and Address                                                                                                         Date of Birth
                                                                               Social Security No.
                                                                                                                            /    /
                                                                                                                         (mm/dd/yyyy)
                                                                               Relationship


Item 6. Employment Information/Employment Income
Provide the following information for this year-to-date and for each of the previous five full years, for each business entity of which you were a director,
officer, member, partner, employee (including self-employment), agent, owner, shareholder, contractor, participant or consultant at any time during that
period. “Income” includes, but is not limited to, any salary, commissions, distributions, draws, consulting fees, loans, loan payments, dividends,
royalties, and benefits for which you did not pay (e.g., health insurance premiums, automobile lease or loan payments) received by you or anyone else
on your behalf.
Company Name and Address                                                            Dates Employed                  Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /               20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $
Company Name and Address                                                            Dates Employed                  Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /
                                                                                                                    20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $
Company Name and Address                                                            Dates Employed                  Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /               20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $



                                                                                                                                           Initials:

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Item 7. Pending Lawsuits Filed By or Against You or Your Spouse
List all pending lawsuits that have been filed by or against you or your spouse in any court or before an administrative agency in the United States or in
any foreign country or territory. Note: At Item 12, list lawsuits that resulted in final judgments or settlements in your favor. At Item 21, list lawsuits that
resulted in final judgments or settlements against you.
                                                                                                     Nature of                                        Status or
        Caption of Proceeding              Court or Agency and Location           Case No.                                 Relief Requested
                                                                                                    Proceeding                                       Disposition




Item 8. Safe Deposit Boxes
List all safe deposit boxes, located within the United States or in any foreign country or territory, whether held individually or jointly and whether held by
you, your spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents.
         Name of Owner(s)                         Name & Address of Depository Institution                    Box No.                      Contents




                                                                                                                                              Initials:

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                                                         FINANCIAL INFORMATION
REMINDER: When an item asks for information regarding your “assets” and “liabilities” include ALL assets and liabilities, located within
the United States or in any foreign country or territory, or institution, whether held individually or jointly, and whether held by you, your
spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents. In addition, provide
all documents requested in Item 24 with your completed Financial Statement.
                                                                         ASSETS
Item 9. Cash, Bank, and Money Market Accounts
List cash on hand (as opposed to cash in bank accounts or other financial accounts) and all bank accounts, money market accounts, or other financial
accounts, including but not limited to checking accounts, savings accounts, and certificates of deposit. The term “cash on hand” includes but is not
limited to cash in the form of currency, uncashed checks, and money orders.

   a. Amount of Cash on Hand $                                              Form of Cash on Hand

   b. Name on Account                          Name & Address of Financial Institution                         Account No.                     Current Balance

                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




Item 10. Publicly Traded Securities
List all publicly traded securities, including but not limited to, stocks, stock options, corporate bonds, mutual funds, U.S. government securities (including
but not limited to treasury bills and treasury notes), and state and municipal bonds. Also list any U.S. savings bonds.
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned


Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $




                                                                                                                                               Initials:

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Item 11. Non-Public Business and Financial Interests
List all non-public business and financial interests, including but not limited to any interest in a non-public corporation, subchapter-S corporation, limited
liability corporation (“LLC”), general or limited partnership, joint venture, sole proprietorship, international business corporation or personal investment
corporation, and oil or mineral lease.
                                                        Type of Business or Financial               Owner              Ownership     If Officer, Director, Member
            Entity’s Name & Address
                                                       Interest (e.g., LLC, partnership)     (e.g., self, spouse)         %             or Partner, Exact Title




Item 12. Amounts Owed to You, Your Spouse, or Your Dependents
Debtor’s Name & Address                                  Date Obligation          Original Amount Owed         Nature of Obligation (if the result of a final court
                                                      Incurred (Month/Year)      $                             judgment or settlement, provide court name
                                                                /                                              and docket number)
                                                      Current Amount Owed        Payment Schedule
                                                      $                          $
Debtor’s Telephone                                    Debtor’s Relationship to You


Debtor’s Name & Address                                   Date Obligation           Original Amount Owed       Nature of Obligation (if the result of a final court
                                                       Incurred (Month/Year)        $                          judgment or settlement, provide court name
                                                                 /                                             and docket number)
                                                      Current Amount Owed           Payment Schedule
                                                      $                             $
Debtor’s Telephone                                    Debtor’s Relationship to You


Item 13. Life Insurance Policies
List all life insurance policies (including endowment policies) with any cash surrender value.
Insurance Company’s Name, Address, & Telephone No.                    Beneficiary                                   Policy No.             Face Value
                                                                                                                                           $
                                                                     Insured                                        Loans Against Policy   Surrender Value
                                                                                                                    $                      $

Insurance Company’s Name, Address, & Telephone No.                   Beneficiary                                    Policy No.             Face Value
                                                                                                                                           $
                                                                     Insured                                        Loans Against Policy   Surrender Value
                                                                                                                    $                      $

Item 14. Deferred Income Arrangements
List all deferred income arrangements, including but not limited to, deferred annuities, pensions plans, profit-sharing plans, 401(k) plans, IRAs, Keoghs,
other retirement accounts, and college savings plans (e.g., 529 Plans).
Trustee or Administrator’s Name, Address & Telephone No.                           Name on Account                               Account No.


                                                                                   Date Established      Type of Plan              Surrender Value before
                                                                                     /    /                                        Taxes and Penalties
                                                                                   (mm/dd/yyyy)                                    $
Trustee or Administrator’s Name, Address & Telephone No.                           Name on Account                               Account No.

                                                                                   Date Established      Type of Plan              Surrender Value before
                                                                                     /    /                                        Taxes and Penalties
                                                                                                                                   $



                                                                                                                                               Initials:

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Item 15. Pending Insurance Payments or Inheritances
List any pending insurance payments or inheritances owed to you.
Type                                                                                                        Amount Expected     Date Expected (mm/dd/yyyy)
                                                                                                        $                           /     /
                                                                                                        $                           /     /
                                                                                                        $                           /     /

Item 16. Vehicles
List all cars, trucks, motorcycles, boats, airplanes, and other vehicles.
Vehicle Type        Year            Registered Owner’s Name             Purchase Price                       Original Loan Amount       Current Balance
                                                                        $                                    $                          $
Make                                Registration State & No.            Account/Loan No.                     Current Value              Monthly Payment
                                                                                                             $                          $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price                       Original Loan Amount       Current Balance
                                                                        $                                    $                          $
Make                                Registration State & No.            Account/Loan No.                     Current Value              Monthly Payment
                                                                                                             $                          $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price                Original Loan Amount          Current Balance
                                                                        $                             $                             $
Make                                Registration State & No.            Account/Loan No.              Current Value                 Monthly Payment
                                                                                                      $                             $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price                Original Loan Amount          Current Balance
                                                                        $                             $                             $
Make                                Registration State & No.            Account/Loan No.              Current Value                 Monthly Payment
                                                                                                      $                             $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Item 17. Other Personal Property
List all other personal property not listed in Items 9-16 by category, whether held for personal use, investment or any other reason, including but not
limited to coins, stamps, artwork, gemstones, jewelry, bullion, other collectibles, copyrights, patents, and other intellectual property.

   Property Category
                                      Name of Owner                              Property Location                    Acquisition Cost             Current Value
 (e.g., artwork, jewelry)

                                                                                                                     $                        $


                                                                                                                     $                        $


                                                                                                                     $                        $




                                                                                                                                                  Initials:

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Item 18. Real Property
List all real property interests (including any land contract)
Property’s Location                          Type of Property                     Name(s) on Title or Contract and Ownership Percentages




Acquisition Date (mm/dd/yyyy)          Purchase Price                        Current Value                      Basis of Valuation
   /   /                               $                                     $
Lender’s Name and Address                                        Loan or Account No.                            Current Balance On First Mortgage or
                                                                                                                Contract
                                                                                                                $
                                                                                                                Monthly Payment
                                                                                                                $
Other Mortgage Loan(s) (describe)                                    Monthly Payment                               Rental Unit
                                                                     $
                                                                     Current Balance                          Monthly Rent Received
                                                                     $                                        $
Property’s Location                          Type of Property                    Name(s) on Title or Contract and Ownership Percentages




Acquisition Date (mm/dd/yyyy)          Purchase Price                        Current Value                      Basis of Valuation
   /   /                               $                                     $
Lender’s Name and Address                                        Loan or Account No.                            Current Balance On First Mortgage or
                                                                                                                Contract
                                                                                                                $
                                                                                                                Monthly Payment
                                                                                                                $
Other Mortgage Loan(s) (describe)                                    Monthly Payment                               Rental Unit
                                                                     $
                                                                     Current Balance                            Monthly Rent Received
                                                                     $                                          $

                                                                        LIABILITIES
Item 19. Credit Cards
List each credit card account held by you, your spouse, or your dependents, and any other credit cards that you, your spouse, or your dependents use,
whether issued by a United States or foreign financial institution.
 Name of Credit Card (e.g., Visa,
                                                      Account No.                              Name(s) on Account                       Current Balance
 MasterCard, Department Store)
                                                                                                                                 $
                                                                                                                                 $
                                                                                                                                 $
                                                                                                                                 $
                                                                                                                                 $
Item 20. Taxes Payable
List all taxes, such as income taxes or real estate taxes, owed by you, your spouse, or your dependents.

                           Type of Tax                                                Amount Owed                               Year Incurred
                                                                       $
                                                                       $
                                                                       $




                                                                                                                                           Initials:

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Item 21. Other Amounts Owed by You, Your Spouse, or Your Dependents
List all other amounts, not listed elsewhere in this financial statement, owed by you, your spouse, or your dependents.
Lender/Creditor’s Name, Address, and Telephone No.         Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                           number)


                                                           Lender/Creditor’s Relationship to You



Date Liability Was Incurred         Original Amount Owed                 Current Amount Owed                  Payment Schedule
   /   /
(mm/dd/yyyy)                        $                                    $
Lender/Creditor’s Name, Address, and Telephone No. Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                     number)


                                                           Lender/Creditor’s Relationship to You



Date Liability Was Incurred             Original Amount Owed                        Current Amount Owed              Payment Schedule
  /    /
(mm/dd/yyyy)                            $                                           $

                                                     OTHER FINANCIAL INFORMATION
Item 22. Trusts and Escrows
List all funds and other assets that are being held in trust or escrow by any person or entity for you, your spouse, or your dependents. Include any legal
retainers being held on your behalf by legal counsel. Also list all funds or other assets that are being held in trust or escrow by you, your spouse, or your
dependents, for any person or entity.
                                                    Date Established
 Trustee or Escrow Agent’s Name & Address                                 Grantor               Beneficiaries              Present Market Value of Assets*
                                                     (mm/dd/yyyy)
                                                      /    /                                                           $




                                                       /    /                                                          $




                                                       /    /                                                          $




*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.

Item 23. Transfers of Assets
List each person or entity to whom you have transferred, in the aggregate, more than $5,000 in funds or other assets during the previous five years by
loan, gift, sale, or other transfer (exclude ordinary and necessary living and business expenses paid to unrelated third parties). For each such person or
entity, state the total amount transferred during that period.
                                                                                                           Transfer Date              Type of Transfer
Transferee’s Name, Address, & Relationship            Property Transferred           Aggregate Value*
                                                                                                           (mm/dd/yyyy)               (e.g., Loan, Gift)
                                                                                     $                      /   /




                                                                                     $                      /   /




                                                                                     $                      /   /



*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.


                                                                                                                                           Initials:

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Item 24. Document Requests
Provide copies of the following documents with your completed Financial Statement.

                Federal tax returns filed during the last three years by or on behalf of you, your spouse, or your dependents.
                All applications for bank loans or other extensions of credit (other than credit cards) that you, your spouse, or your
                dependents have submitted within the last two years, including by obtaining copies from lenders if necessary.
Item 9          For each bank account listed in Item 9, all account statements for the past 3 years.
                For each business entity listed in Item 11, provide (including by causing to be generated from accounting records) the
Item 11         most recent balance sheet, tax return, annual income statement, the most recent year-to-date income statement, and all
                general ledger files from account records.
                All appraisals that have been prepared for any property listed in Item 17, including appraisals done for insurance
Item 17         purposes. You may exclude any category of property where the total appraised value of all property in that category is
                less than $2,000.
Item 18         All appraisals that have been prepared for real property listed in Item 18.
Item 21         Documentation for all debts listed in Item 21.
                All executed documents for any trust or escrow listed in Item 22. Also provide any appraisals, including insurance
Item 22
                appraisals that have been done for any assets held by any such trust or in any such escrow.

                                               SUMMARY FINANCIAL SCHEDULES
Item 25. Combined Balance Sheet for You, Your Spouse, and Your Dependents
Assets                                                                 Liabilities
Cash on Hand (Item 9)                                       $          Loans Against Publicly Traded Securities (Item 10)             $
Funds Held in Financial Institutions (Item 9)               $          Vehicles - Liens (Item 16)                                     $
U.S. Government Securities (Item 10)                        $          Real Property – Encumbrances (Item 18)                         $
Publicly Traded Securities (Item 10)                        $          Credit Cards (Item 19)                                         $
Non-Public Business and Financial Interests (Item 11)       $          Taxes Payable (Item 20)                                        $
Amounts Owed to You (Item 12)                               $          Amounts Owed by You (Item 21)                                  $
Life Insurance Policies (Item 13)                           $          Other Liabilities (Itemize)
Deferred Income Arrangements (Item 14)                      $                                                                         $
Vehicles (Item 16)                                          $                                                                         $
Other Personal Property (Item 17)                           $                                                                         $
Real Property (Item 18)                                     $                                                                         $
Other Assets (Itemize)                                                                                                                $
                                                            $                                                                         $
                                                            $                                                                         $
                                                            $                                                                         $
                                        Total Assets        $          Total Liabilities                                              $
Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents
Provide the current monthly income and expenses for you, your spouse, and your dependents. Do not include credit card payments separately; rather,
include credit card expenditures in the appropriate categories.
Income (State source of each item)                                 Expenses
Salary - After Taxes                                               Mortgage or Rental Payments for Residence(s)
                                                        $                                                                                 $
Source:
Fees, Commissions, and Royalties                                   Property Taxes for Residence(s)
                                                        $                                                                                 $
Source:
Interest                                                           Rental Property Expenses, Including Mortgage Payments, Taxes,
                                                        $          and Insurance                                                          $
Source:
Dividends and Capital Gains                                        Car or Other Vehicle Lease or Loan Payments
                                                        $                                                                                 $
Source:
Gross Rental Income                                                Food Expenses
                                                        $                                                                                 $
Source:
Profits from Sole Proprietorships                                  Clothing Expenses
                                                        $                                                                                 $
Source:
Distributions from Partnerships, S-Corporations,                   Utilities
and LLCs                                                $                                                                                 $
Source:


                                                                                                                                     Initials:

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Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents (cont.)
Distributions from Trusts and Estates                                Medical Expenses, Including Insurance
                                                      $                                                                                    $
Source:
Distributions from Deferred Income Arrangements                      Other Insurance Premiums
                                                      $                                                                                    $
Source:
Social Security Payments                              $              Other Transportation Expenses                                         $
Alimony/Child Support Received                        $              Other Expenses (Itemize)
Gambling Income                                       $                                                                                    $
Other Income (Itemize)                                                                                                                     $
                                                      $                                                                                    $
                                                      $                                                                                    $
                                                      $                                                                                    $

                                     Total Income     $              Total Expenses                                                        $


                                                                ATTACHMENTS
Item 27. Documents Attached to this Financial Statement
List all documents that are being submitted with this financial statement. For any Item 24 documents that are not attached, explain why.

Item No. Document Relates To                                                            Description of Document




         I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.


Executed on:

_______________                                              ___________________________________
(Date)                                                       Signature




                                                                  10 of 10      Federal Trade Commission Financial Statement of Individual Defendant
          Attachment A                                                    47
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                                           FEDERAL TRADE COMMISSION

                            FINANCIAL STATEMENT OF CORPORATE DEFENDANT



Instructions:

1.      Complete all items. Enter “None” or "N/A" (“Not Applicable”) where appropriate. If you cannot fully answer a
        question, explain why.

2.      The font size within each field will adjust automatically as you type to accommodate longer responses.

3.      In completing this financial statement, “the corporation” refers not only to this corporation but also to each of its
        predecessors that are not named defendants in this action.

4.      When an Item asks for information about assets or liabilities “held by the corporation,” include ALL such assets
        and liabilities, located within the United States or elsewhere, held by the corporation or held by others for the
        benefit of the corporation.

5.      Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
        being continued. On the continuation page(s), identify the Item number being continued.

6.      Type or print legibly.

7.      An officer of the corporation must sign and date the completed financial statement on the last page and initial
        each page in the space provided in the lower right corner.




Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) “in any matter within the jurisdiction of any department or agency of the United States knowingly and
        willfully falsifies, conceals or covers up by any trick, scheme, or device a material fact, or makes any false,
        fictitious or fraudulent statements or representations, or makes or uses any false writing or document knowing the
        same to contain any false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

        (2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
        willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

        (3) “in any (. . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
        Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any
        false material declaration or makes or uses any other information . . . knowing the same to contain any false
        material declaration.” (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross loss.
18 U.S.C. § 3571.




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                                          BACKGROUND INFORMATION


Item 1.            General Information

Corporation’s Full Name ___________________________________________________________________________

Primary Business Address ______________________________________________________ From (Date) _________

Telephone No. _____________________________ Fax No. _____________________________

E-Mail Address________________________ Internet Home Page________________________

All other current addresses & previous addresses for past five years, including post office boxes and mail drops:

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

All predecessor companies for past five years:

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________


Item 2.            Legal Information

Federal Taxpayer ID No. _________________________ State & Date of Incorporation _________________________

State Tax ID No. ____________________ State ________________ Profit or Not For Profit _____________________

Corporation’s Present Status: Active ________________ Inactive _______________ Dissolved __________________

If Dissolved: Date dissolved _________________________ By Whom ______________________________________

Reasons _________________________________________________________________________________________

Fiscal Year-End (Mo./Day) ________________ Corporation’s Business Activities _____________________________


Item 3.            Registered Agent

Name of Registered Agent __________________________________________________________________________

Address __________________________________________________________ Telephone No. __________________




          Page 2                                                                          Initials __________
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Item 4.            Principal Stockholders

List all persons and entities that own at least 5% of the corporation’s stock.

                                            Name & Address                                                  % Owned

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________


Item 5.            Board Members

List all members of the corporation’s Board of Directors.

                                   Name & Address                                        % Owned      Term (From/Until)

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________


Item 6.            Officers

List all of the corporation’s officers, including de facto officers (individuals with significant management responsibility
whose titles do not reflect the nature of their positions).

                                            Name & Address                                                  % Owned

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________




          Page 3                                                                            Initials __________
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Item 7.            Businesses Related to the Corporation

List all corporations, partnerships, and other business entities in which this corporation has an ownership interest.

                                  Name & Address                                        Business Activities        % Owned

___________________________________________________________________ ___________________ _________

___________________________________________________________________ ___________________ _________

___________________________________________________________________ ___________________ _________

State which of these businesses, if any, has ever transacted business with the corporation _______________________

________________________________________________________________________________________________


Item 8.            Businesses Related to Individuals

List all corporations, partnerships, and other business entities in which the corporation’s principal stockholders, board
members, or officers (i.e., the individuals listed in Items 4 - 6 above) have an ownership interest.

 Individual’s Name                       Business Name & Address                         Business Activities       % Owned

__________________ __________________________________________________ __________________ ________

__________________ __________________________________________________ __________________ ________

__________________ __________________________________________________ __________________ ________

State which of these businesses, if any, have ever transacted business with the corporation _______________________

________________________________________________________________________________________________


Item 9.            Related Individuals

List all related individuals with whom the corporation has had any business transactions during the three previous fiscal
years and current fiscal year-to-date. A “related individual” is a spouse, sibling, parent, or child of the principal
stockholders, board members, and officers (i.e., the individuals listed in Items 4 - 6 above).

                            Name and Address                                  Relationship           Business Activities

_________________________________________________________ _________________ ______________________

_________________________________________________________ _________________ ______________________

_________________________________________________________ _________________ ______________________




          Page 4                                                                             Initials __________
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Item 10.          Outside Accountants

List all outside accountants retained by the corporation during the last three years.

           Name                    Firm Name                                  Address                       CPA/PA?

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________


Item 11.          Corporation’s Recordkeeping

List all individuals within the corporation with responsibility for keeping the corporation’s financial books and records for
the last three years.

                              Name, Address, & Telephone Number                                      Position(s) Held

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________


Item 12.          Attorneys

List all attorneys retained by the corporation during the last three years.

           Name                        Firm Name                                        Address

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________




        Page 5                                                                             Initials __________
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Item 13.         Pending Lawsuits Filed by the Corporation

List all pending lawsuits that have been filed by the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in favor of the corporation in Item 25).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________


        Page 6                                                                             Initials __________
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Item 14.         Current Lawsuits Filed Against the Corporation

List all pending lawsuits that have been filed against the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments, settlements, or orders in Items 26 - 27).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________


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Item 15.         Bankruptcy Information

List all state insolvency and federal bankruptcy proceedings involving the corporation.

Commencement Date _________________ Termination Date _________________ Docket No. __________________

If State Court: Court & County _______________________ If Federal Court: District __________________________

Disposition ______________________________________________________________________________________


Item 16.                  Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the corporation, or held by others for the
benefit of the corporation. On a separate page, describe the contents of each box.

Owner’s Name              Name & Address of Depository Institution                                                   Box No.

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________




                                               FINANCIAL INFORMATION

REMINDER: When an Item asks for information about assets or liabilities “held by the corporation,” include
ALL such assets and liabilities, located within the United States or elsewhere, held by the corporation or held by
others for the benefit of the corporation.

Item 17.         Tax Returns

List all federal and state corporate tax returns filed for the last three complete fiscal years. Attach copies of all returns.

  Federal/       Tax Year      Tax Due        Tax Paid      Tax Due        Tax Paid               Preparer’s Name
 State/Both                    Federal        Federal        State          State

___________ __________ $_________ $_________ $__________ $__________ ______________________________

___________ __________ $_________ $_________ $__________ $__________ ______________________________

___________ __________ $_________ $_________ $__________ $__________ ______________________________




        Page 8                                                                                 Initials __________
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Item 18.         Financial Statements

List all financial statements that were prepared for the corporation’s last three complete fiscal years and for the current
fiscal year-to-date. Attach copies of all statements, providing audited statements if available.

   Year      Balance Sheet     Profit & Loss Statement     Cash Flow Statement Changes in Owner’s Equity Audited?

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

Item 19.         Financial Summary

For each of the last three complete fiscal years and for the current fiscal year-to-date for which the corporation has not
provided a profit and loss statement in accordance with Item 18 above, provide the following summary financial
information.
                             Current Year-to-Date          1 Year Ago              2 Years Ago             3 Years Ago
 Gross Revenue             $_________________         $_______________        $_______________         $_______________
 Expenses                  $_________________         $_______________        $_______________         $_______________
 Net Profit After Taxes    $_________________         $_______________        $_______________         $_______________
 Payables                  $_________________
 Receivables               $_________________

Item 20.         Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by the corporation. The term “cash” includes currency and uncashed checks.

Cash on Hand $_________________________ Cash Held for the Corporation’s Benefit $_______________________

  Name & Address of Financial Institution                Signator(s) on Account             Account No.
                                                                                         Current
                                                                                         Balance
_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________




        Page 9                                                                               Initials __________
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Item 21.          Government Obligations and Publicly Traded Securities

List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills, or treasury notes, held by
the corporation. Also list all publicly traded securities, including but not limited to, stocks, stock options, registered and
bearer bonds, state and municipal bonds, and mutual funds, held by the corporation.

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________


Item 22.          Real Estate

List all real estate, including leaseholds in excess of five years, held by the corporation.

Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________



Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________




        Page 10                                                                                Initials __________
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Item 23.          Other Assets

List all other property, by category, with an estimated value of $2,500 or more, held by the corporation, including but not
limited to, inventory, machinery, equipment, furniture, vehicles, customer lists, computer software, patents, and other
intellectual property.

           Property Category                               Property Location                       Acquisition      Current
                                                                                                     Cost           Value

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________


Item 24.          Trusts and Escrows

List all persons and other entities holding funds or other assets that are in escrow or in trust for the corporation.

           Trustee or Escrow Agent’s                      Description and Location of Assets               Present Market
                Name & Address                                                                             Value of Assets

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________




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Item 25.          Monetary Judgments and Settlements Owed To the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________



Item 26.          Monetary Judgments and Settlements Owed By the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed by the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit_______________________________________ Date______________ Amount $______________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________



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Item 27.          Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state government entities.

Name of Agency ___________________________________________ Contact Person __________________________

Address _____________________________________________________________ Telephone No. _______________

Agreement Date ______________ Nature of Agreement __________________________________________________


Item 28.          Credit Cards

List all of the corporation’s credit cards and store charge accounts and the individuals authorized to use them.

           Name of Credit Card or Store                         Names of Authorized Users and Positions Held

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________


Item 29.          Compensation of Employees

List all compensation and other benefits received from the corporation by the five most highly compensated employees,
independent contractors, and consultants (other than those individuals listed in Items 5 and 6 above), for the two previous
fiscal years and current fiscal year-to-date. “Compensation” includes, but is not limited to, salaries, commissions,
consulting fees, bonuses, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits” include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to the
individuals, or paid to others on their behalf.

           Name/Position               Current Fiscal    1 Year Ago     2 Years Ago             Compensation or
                                       Year-to-Date                                             Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________




        Page 13                                                                            Initials __________
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Item 30.          Compensation of Board Members and Officers

List all compensation and other benefits received from the corporation by each person listed in Items 5 and 6, for the
current fiscal year-to-date and the two previous fiscal years. “Compensation” includes, but is not limited to, salaries,
commissions, consulting fees, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits”
include, but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to
the individuals, or paid to others on their behalf.

           Name/Position               Current Fiscal    1 Year Ago      2 Years Ago             Compensation or
                                       Year-to-Date                                              Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

Item 31.          Transfers of Assets Including Cash and Property

List all transfers of assets over $2,500 made by the corporation, other than in the ordinary course of business, during the
previous three years, by loan, gift, sale, or other transfer.

 Transferee’s Name, Address, & Relationship           Property           Aggregate       Transfer      Type of Transfer
                                                     Transferred          Value           Date         (e.g., Loan, Gift)


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________




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Item 32.          Documents Attached to the Financial Statement

List all documents that are being submitted with the financial statement.

 Item No. Document       Description of Document
     Relates To

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________




        I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:

______________________________                    _____________________________________________________
(Date)                                            Signature


                                                  _____________________________________________________
                                                  Corporate Position




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            CONSENT TO RELEASE OF FINANCIAL RECORDS
        I,__________________, residing at________________________________,
 in the United States of America, do hereby direct any bank, trust company, or
 financial institution, at which I have an account of any kind or at which a
 corporation or natural person has a bank account of any kind upon which I am
 authorized to draw, and its officers, employees, and agents, to disclose all
 information and deliver copies of all documents of every nature in their possession
 or control that relate to any such account to any attorney or representative of the
 Federal Trade Commission, and to give evidence relevant thereto, in the matter of
 the Federal Trade Commission v. Damian Kutzner et al., before the United States
 District Court for the Central District of California, and this shall be irrevocable
 authority for so doing.

       This direction is intended to apply to the laws of countries other than the
 United States that restrict or prohibit the disclosure of financial information
 without the consent of the holder of the account, or its officers, and shall be
 construed as consent with respect thereto, and the same shall apply to any of the
 accounts for which I may be a relevant principal.


 Dated: __________________________, 2016

 Name (print): ____________________


 Signature: _______________________




 Attachment C                             63
